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James P. Bozmer (JB0629)

Shalov Stc)rle Boxmer & Rocco LLP
485 Sevemth Avenue, Suite 1000
New York, New York 10018

(212) 239~4340

UNITED S§.`ATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

 

X
PH_ILIP LITLB, }ET AL : Case No.: CV 04~»5449 (NG)(VVP)
[CoRRECTED]1
SECOND AMENDEI_) COMPLAINT
Pfaintiffs,
~against-
ARAB BANK, PLC,
Defendant.
-~- x

 

Plaintiffs Philip Litle, Philip Litle for the Estate of Abigail Litle, Elishua Litle, Hannah Litle,
Heidi Litle, Josiah Litle, Noah Litie (“Litle Plaintiffs”); Natan Applebaum for the Estate of David
Applebaum, Debra Applebaum, ThelEstate of lacqueline Applebaum, Natan Applebaum, Natan
Ap;:)lebaum for the Bstate of Naava Appfebaum, Shira Applebaum, Yitzch`ak Applebaum, Shayna
Appiebaum, Tovi Belle Appfebaum, Geela Applebaum Gordon (“Applebaum Pfaintiffs”); Billy
B&xter, Catherine Baxter, Fran Strauss Baxter, lack Baxter (“Baxter Plain`tiffs”); Chaya Tziporah
Cohen (“Cohen Plaintiff”); Deborah ‘Feniche}, llanit Fenichel, Netanel Fenichel, Moshe Fenichel
(“Fenichel Plaintiffs”); Faye-Chana Benjaminson, The Estate of Moshe Gott}ieb, Seymour Gottfieb,
Sheila Gott;lieb (“Gc)ttlieb Plaintiffs”); The Estate of John Linde, J'r., Courtney Linde (“Linde
Plaintiffs”); The Estate of Foruk Naimi, Moshe Naimi (“Naimi Plaintiffs”); Naphtali Nevies, Rebecca

Nevies (“Nevies Plaintiffs” ; Barbara Psaroudis, Mary Lazin, Agnes Parsons, John W. Parsons, ’l`he

 

' Mociif`;ed per Magistrate Judge Viktor V. Pohorelsky’s March 22, 2007 Opinion and Order.

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Estate of Mark Parsons, Catherine Tyo§<ody (“Parsons Plaintiffs”); Ariela Freirma.rk, Menachem
Freirma:rk, Hadassah Freirmark, (“Freinnark Piaintiffs”); Ari I-Iorovitz, Batsheva Horovitz, David
Horovitz, Bemice Wolf for the Estate of Debra Ruth H<)rovitz, Bernice Wolf for the Estate of Eli
Natan Horovitz, Leah Horovitz, Moshe I-Iorovitz, Nechama Horovitz, Shulamite Horovitz, Tovi
Horovitz, Tvi Horovitz, Uri Horovitz, Bemice Wolf, Brian Wolf, Staniey Wolf (“Horovitz Plaintiffs”);
Dov Klieman, The Estate of Esther Klieman by its Administrator Aaron Kesner, Gavriel Klieman,
Nachman Klieman, Ruanne Klieman, Yosef Klieman (“Klieman Plaintiffs”); Deborah Margalit, Natan
Ma;rgaiit, Evya.tar Ma;rgalit (“Margalit Plaintiffs”)', Phylfis Pam, Rivka Reena Pam (“Pam Plaintiffs”);
Rachel P<)tolski, Ovadia Topporowitch, Tehila 'I`opporowitch, Yisrael Topporowitch, Yitzchak
Topporowitch (“Nathenson Plaintiffs”); Miriam Ehrenfeld, Joseph Rose, Leibel Reinitz, Malvia
R@initz, Margali Reinitz, Mendy Reinitz, Miriam Reinitz, Rivka Reinitz, Samuel Reinitz, Shmuel
Reinitz, Yakov Reinitz, '.§.`h@ Estate Of Yissocher DOV Reinitz, Yitzchok Reinitz, Raizel Shimon Leah
Tauber, Helen Weider (“Reinitz Plaintiffs”); Avrohom D. Richter, Breiua Richter, Miriam Leah
Richte;, Moshe Richter, Nechama Richter, Sara Malka Richter, Shlomo Chaim Richter, Tranne
Richter, Yakov Yosef Richter, Yechiel chhter, Yehudis Richter, Yisroel Richter, Yitzchok Richter
(“R:ichter Plaintiffs”); Erik Schecter (“Schecter Plaintiff"); Shlomo Tratner, The Estate of Tiferet
Tratner (“Tratner Plaintiffs”); Perl Brailofsky, Yosef Brailofsky, Malky Breuer, Ester Buxbaum, Gittel
Cohen, Chaya Freisel, Rachef Rosner, Elizabeth Schwartz, Jac<)b Schwartz, Max Schwaz:iz, Micha€l
Schwartz, Phillip Schwartz, Abraham Zarkowsky, Aron Zarkowsky, Bshava Zarkowsky, Mendel
Zarkowsky for the Estate of Eli Zarkowsky, Ezriel Zarkowsky, Gitte} Zarkowsky, Mendel Zarkowsky
for the Estate of Goldie Zarkowsky, loseph Zarkowsky, Mendel Zarkowsky, Miriam Zarkowsky,
Shr.age Zarl<owsky, Trany Zarkowsky, Y@huda Zarkowsky (“Zarkowsky Plaintiffs”); Shoshana ’I`ita,

Ezra Tita, and Ephraim Tita, ludividually and for the Esta”£e of Bel'tin Tita (‘°Tita Plaintiffs”); Norman

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Blanstein, Samuel Berg, the Estate of Sara Blaustein, Adena Mark, Jonathan Berg, Atara Blaustein,
Rebecca Unterberg, David Unterberg, Terna Furmansl<y (“Blaustein Plaintiffs”); Bernard Rernez
(“Reniez Plaintift”, Andrew Feibusch (“Feibusch Plaintifi”), Nethaniel Bluth (“Blath Plaintif£"”),
Averham Grossinan (“Grossrnan Plaintift”), l\/licbael Spitz (“Spitz Plaintit`t"), Meshulain Ben Meir
(“Ben Meir Plaintift"), Elitzur Lilintal (“Lilintal Plaintil`f”), Jacob Rand, Dalit Cornet~Murciano Rand
(“Rand Plaintiffs”), Joseph Leii`er and Devorah Chechancw Leifer (“Leifer Piaintit`fs”), Obadiah
Waxler, Chana Waxler, Arthur Waxler, Dina Waxler, Ezekial Waxler, Abrahain Waxler, Haggi
Waxler, Nachurn Waxler, Yoel Waxler, Zacharia WaXler, Gedalia Waxler, Baruch Waxler, Yaalcov
Waxler, Chaya Rosenberg, Bracha l\/iilstein, and Siiifra Miller (“Waxlcr Plaintiffs), and each of them,
by their attorneys, respectfully submit this Corrected Second Amended Cornplaint to the Iionorable
Conrt and allege the following upon information and belief:
NATURE OF THE ACTION

l. This is a civil action for damages brought pursuant to 18 USC § 2333 against the Arab
Bank, PLC (“Arab Bank”) ~ a Jordanian bank headquartered in Arnrnan, Jordan With a federally
licensed and regulated branch office in the State of New Yorl<. Arab Bank knowingly and Willfully
provided, distributed and administered the distribution of financial benefits, money and financial
services as rewards and incentives to (a) terrorists Who have killed, injured and mainied United States
nationals, or attempted to do so, (b) the families and beneficiaries of such terrorists, and (c) Foreign
Terrorist Organizations as part of a scheme, plan and design to encourage, aid, assist, incentivize,
reward and facilitate acts of international terrorism as defined by 18 U.S.C. § 2331.

2. Arab Banl<: knowingly provided material support and substantial assistance during the
Second Intit°ada to terrorist organizations Which Were responsible for killing or injuring Piaintiffs in

scores of international terror attacks Arab Bank also i<nowingly and intentionally joined a conspiracy

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to provide material support to unlawful terror organizations Which Were responsible for killing or
injuring Plaintiffs by reason of international terrorism. Arab Banl< is therefore liable to Piaintift`s for
the damages that Plaintit`t`s have suffered

3. Plaintiffs are all United States nationals or family members of such nationals Who have
been injured, maimed, harmed or killed by reason of international terrorism, as defined by i8 U.S.C. §
233 l.

JURISDICTION AND VENUE

4. Tbis Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331,
28 U.S.C. § 1332(a)(2), and 18 U.S.C. §§ 2333 and 2334, as a civil action brought by nationals of the
United States, their estates, survivors, and heirs Wl'lo have been killed er injured by reason of acts of
international terrorism. This Court also has subject matter jurisdiction over this action based on
diversity of citizenship pursuant to 28 U.S.C. § l332(a)(2). ’l`he matter in controversy exceeds the sum
or value ot` $75,000, exclusive of interest and costs

5. Venue is proper in this district pursuant to 18 U.S.C. § 2334(a) and 28 U.S.C. §
1391(d). Additionally, as alleged below, several Plaintift`s reside in this District.

6. Arab Banl< is subject to personal jurisdiction in the State of NeW York pursuant to N.Y.
CLPR § 301 because, among other things, it continuously and systematically does business in the State
of New Yorl<. Arab Bank also is subject to personal jurisdiction in the State of New York pursuant to
N.Y. CPLR § 302 because, based on the facts alleged herein and upon information and belief, Arab
Banl< (a) transacts business Within the State ofNeW York; (b) contracts to supply goods and services in
the State of Nevv York; (c) has committed tortious acts Within the State of l\leW York and (d) has
committed tortious acts outside the State of New Yorl< causing injury Within the State of New Yorl<

and (i) derives substantial revenue from goods used or consumed in the State of New York or (ii)

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expected or should reasonably have expected such acts to have consequences in the State of New York
and derived substantial revenue from international commerce Arab Bank also is subject to personal

jurisdiction pursuant to i8 U.S.C. § 2334(a).

THE PARTIES
A. The Plaintiffs
The Litle Farnil 1
7. Abigail Litle was a citizen of the United States. She Was, at the time of her murder,

living with her parents and family in Haifa, israel When she was killed in the terrorist bombing of Bus
No. 37 in Haifa, israel on l\/larch 5, 2003. HAMAS, a designated Foreign Terrorist Organization,
claimed responsibility for the bombing, which was committed by HAMAS terrorist, Moharnad Al
Kawasmi. This terror attack was within the scope of the scheme and conspiracy described below in
Which Arab Bank Was a knowing and active participant

8. A Baptist activist in Arab».lewish co~existence projects and an eighth-grade student
majoring in biology and environmental studies, Abigail Was riding the bus on her way horne from
school when a suicide bomber detonated a bomb filled with metal shrapnel killing 17 people, including
Abigail, and wounding 53 other persons The terrorist left behind a note praising the September ll,
2001 attacks on the World ”l`rade Center in New York City.

9. Philip and Heidi Litle are nationals of the United States and presently reside in the City
of Haifa in the State of Israel pursuant to their work with the Baptist ministry They are the mother
and father of Abigail Litle.

10. lvlr. and Mrs. Litle first learned of the bus bombing when a family friend called their
house to ask if their five children were all right. l\/lr. and Mrs. Litle turned on the television to view

news reports of the terrorist attack The reports initially provided misinformation regarding the

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location ot` the attack and in which direction the bus had been traveling The Litles accordingly
believed all of their children were okay, but as further news reports and photographs came in, they
became increasingly alarmed

ll. By looking at photographs ot` the charred remains of the bus, the Litles could recognize
its location and realized that it had been traveling in a different direction than they previously thought
All of the Litles’ children other than Abigail were either at horne or their location had otherwise been
accounted for.

12. The mobile phone network was down and Mr. and l\/lrs. Litle were unsure if Abigail had
a mobile phone with her, so they clung to the belief that she could be alive, but fearing that she might
be dead Abigail’s friends began calling her house to see if she was all right, and Mr. and Mrs. Litle
began to realize that most of Abigail’s friends had been accounted for. However, l\/lr. and l\/lrs. Litle
had still heard nothing from their daughter when Mr. Litle saw a picture of the destroyed remains of
Bus. No. 37, with a blue coat that lie believed to be Abigail’s draped across one of the seats.

13. l\/lr. and Mrs. Litle called the three major hospitals in the area. The first two hospitals
had no matching description Mr. and i\/Irs. Litle were unable to get through to the third so their pastor
went to the hospital to search for Abigail among the victims l\/lr. and Mrs. Litle finally got through to
the hospital and were told they could come look for their daughter. When they neared the hospital
entrance, Mr. and l\/lrs. Litle received a telephone call from the hospital telling them to come
immediately

14. Mr. and l\/lrs. Litle located the hallway within the hospital designated as the meeting
point for those attempting to locate loved ones injured or killed in the attack. l`he Litles’ pastor was
waiting and told them the dreaded news that he had personally seen Abigail and she was dead Mr.

and l\/lrs. Litle waited to identify their daughter in the morgue for the israeli police

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l5. Both the death of their beloved daughter and watching the various newscasts about the
terrorist attack that displayed the bus’ charred remains have caused Mr. and Mrs. Litle severe mental
anguish, pain and suffering and extreme emotional distress

l6. The Litles’ other children waited at their horne with a family friend for their parents to
return

l7. Elishua Litle is a citizen of the United States and currently resides in lsrael with his 7
parents and family He is the lZ~year»»old brother of Abi gail Litle.

18. While his parents went to the hospital, he waited at his family’s horne with his siblings,
other than Abigail, and a family friend, anxiously awaiting his parents’ return

l9. Elishua found out about his sister’s death when his parents returned with the family
pastor, a social worker, and a family friend who was also a psychologist

20. 'i`he murder of his sister Abigail has caused Elishua severe mental anguish, pain and
suffering and extreme emotional distress over the loss of his sister.

21. Hannah Litle is a citizen of the United States and currently resides in israel with her
family She is the l?)-year~old sister of Abigail Litle.

22. While her parents went to the hospital, Hannah waited at her family’s horne with her
siblings, other than Abigail, and a family friend, anxiously awaiting her parents’ return.

23. She found out about her sister’s death when her parents returned with the family pastor,
a social worker, and a family friend who was also a psychologist

24. Fl`he murder of her sister Abigail has caused Hannah severe mental anguish, pain and
suffering and extreme emotional distress over the loss of her sister.

25. losiah Litle is a citizen of the limited States and currently resides in Israel with his

family. lie is the brother of Abigail Litle.

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26. While his parents were at the hospital, Josiah waited at his family’s home with his
siblings, other than Abigail, and a family friend, anxiously awaiting his parents’ return

27. He found out about his sister’s death when his parents returned with the family pastor, a
sociai worker, and a family friend who was aiso a psychologist

28. ri`he murder of his sister Abigail has caused iosiah severe mental anguish, pain and
suffering and extreme emotional distress over the loss of his sister.

29. Noah Litle is a citizen of the United States and currently resides in Israel with his
farniiy. lie is the brother of Abigail Litie.

3{). While his parents went to the hospital, Noah waited at his family’s home with his
siblings, other than Abigail, and a family friend, anxiously awaiting his parents’ return.

31. lie found out about his sister’s death when his parents returned with the family pastor, a
social worker, and a family friend who was also a psychologist

32. The murder of his sister Abigail has caused Noah severe mental anguish, pain and
suffering and extreme emotional distress over the loss of his sister.

The Applebg“u“_x_l_l Family (2)

 

33. Dr. David Applebaum and his daughter Naava Applebaum were both citizens of the
United States. Dr. Applebaum and Naava , were both murdered in the terrorist bombing of Cafe Hillel
in .ierusaiem, Israel on Septernber 9, 2003. HAi\/IAS has claimed responsibility for the bombing,
which was committed by HAMAS terrorist Rarnez Shni Abu-Salern. This terror attack was within the
scope of the scheme and conspiracy described beiow in which Arab Banic was a knowing and active
participant

34. Dr. Applebaurn Was born and educated in the United States. At the time of his death, he

was the director of the Shaarei Zedek Hospitai Ernergency Room located in Jerusalern, Israel. He

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supervised the Mobile intensive Care Units of l\/iagen David Adom (Jerusaiem). Magen David Adom,
which in Hebrew means the Red Star of David, is the Israeli organization that is the equivalent of the
American Red Cross. Magen David Adom is an Israeii relief, medical and humanitarian organization
that works in cooperation with the international Red Cross. Dr. Applebaum directed the "ferern
Clinics, whose Jerusaiem pre-hospital urgent care facility sees over 90,000 patients a year. He had
personally assisted many injured victims of terrorism in Israel, and removed the remains of many
victims of terrorism who had been murdered in lsrael. On the night of his own death, one night before
the planned marriage of his daughter, Naava, he and Naava had gone together to Cafe Hillel in
Jerusalem.

35. Dr. Appiebaum and Naava were arriving at the cafe when the HAMAS suicide bomber
entered the restaurant and detonated a bomb, brutaily and intentionally murdering both Dr. David
Applebaum and his daughter, Naava, along with 5 other people

36. Debra Applebaurn is a national of the United States and presently resides in Israei. She
is the wife of David Appiebaum and the mother of Naava Applebaum.

37. Upon hearing of the bombing, Mrs. Applebaum immediately began attempting to
contact her husband on his celi phone, and by calling his pager, knowing that Dr. Applehaum and
Naava were headed to Café Hiilel in order to make a quick stop there to pick up some food for the
family members who were at horne working on the next evenings wedding preparations When Dr.
Applebaum did not answer his cell phone, nor his pager, nor make some kind of contact with the
family as he would do after every terrorist attack (he was often one of the first medical personnel in
Israel to be contacted by the authorities in the event of a terrorist attack), two of the Applebaum
children, Shira and Yitchak, ran to the scene of the attack to find their father and sister. l\/irs.

Applebaum then went to Shaarei Zedek hospital, as she had received news from eyewitnesses that they

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had seen Naava placed on a stretcher. Dei)ra Applebaum has suffered irreparable and irreplaceable
loss over the terrorist murder of her husband and daughter lt is inconceivable to her that her husband
and daughter, on the eve of her wedding, could have been murdered at the local lerusalem coffee shop,
Café Hiliel. It is beyond comprehension that a father and daughter, on the eve of her wedding, could
have gone cut for a quiet moment together in preparation for the daughter’s wedding, and that instead
of joy over the upcoming wedding, the family suffered the tragic death and loss of these beautiful
people. lnstead of a wedding, they attended a timeral and mounted their loss, sitting shiva in
accordance with traditional Jewish customs and law. Debra Applebaun'i has suffered, and continues to
suffer, severe mental anguish, pain and suffering and extreme emotional distress over the loss of her
husband and daughter, loss of consortium and loss of income, all to her damage

38. Jacqneline Applebaum was a citizen of the United States who lived in lsrael. She was
the mother of David Applebaum. She was anxiously and excitediy awaiting the wedding of her
granddaughter, Naava. instead of a wedding, she attended their funeral and monrned their loss until
her own passing

39. Upon hearing of the murder of her son and granddaughter, Jacqueline Applebaum
suffered severe mental anguish, pain and suffering and extreme emotional distress, all to her damage

40. Reeently Jacqueline Applebatnn passed away. Her estate is a plaintiff in this action

41. Natan Applebaurn is a citizen of the United States and currently resides in England. He
is the son of l)avid Applebaum and the brother ot` Naava Applebaum. At the time of their murder he
was residing with his family in Jerusaleni, and was anxiously and excitedly awaiting the wedding the
following evening of his sister, Naava. Instead of a wedding, he attended their funeral, and mourns

their loss.

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42. The murder of his father, David, and sister, Naava, has caused Natan severe mental
anguish, pain and suffering and extreme emotional distress as a result of said iosses, alito his damage

43. Shira Applebaum is a citizen of the United States and currently resides in Israel. She is
the son of David Applebaum and the brother of Naava Applebaum. At the time of their murder she
was residing with her family in Jerusaiem, and was anxiously and excitedly awaiting the wedding the
following evening of her sister, Naava. Instead of a wedding, she attended their funeral, and mourns
their loss.

44. The murder of her father, David, and sister, Naava, has caused Shira severe mental
anguish, pain and suffering and extreme emotional distress as a result of said iosses, alito her damage

45. Yitzchak Applebaum is a citizen of the United States and currently resides in Israel. He
is the son of David Applebaum and the brother of Naava Applebaurn. At the time of their murder he
was residing with his family in Jerusaiem, and was anxiously and excitediy awaiting the wedding the
following evening of his sister, Naava. instead of a wedding, he attended their funeral and inourns
their loss. -

46. The murder of his father, i)avid, and sister, Naava, has caused Yitzchak severe mental
anguish, pain and suffering and extreme emotional distress as a result of said losses, alito his damage

47. Shayna Applebauin is a citizen of the United States and currently resides in israei. She
is the daughter of David Applebaum and the sister of Naava Applebaum. At the time of their murder,
she was residing with her family in Jerusalem, and was anxiously and excitedly awaiting the wedding
the following evening of her sister, Naava. Instead of a wedding, she attended their funeral, and
mourns their loss.

48. "l`he murder of her father, David, and sister, Naava, has caused Shayna severe mental

anguish, pain and suffering and extreme emotional distress as a result of said losses, all to her damage

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49. levi Belle Applebaum is a citizen of the United States and currently resides in Israel.
She is the daughter of David Applebatnn and the sister of Naava Applebaum. At the time of their
murder, she was residing in lerusalem with her family. lnstead of a wedding, she attended their
funeral., and mourns their loss.

50. "i`he murder of her father, David, and sister, l\iaava, has caused Tovi Belle severe mental
anguish, pain and suffering and extreme emotional distress as a result of said losses, all to her damage

51. Geela Applebaum Gordon is a citizen of the United States and resides in Israel. She is
the sister of David Applebaurn. At the time of their murder, she was in israel awaiting the wedding of
her niece. Instead of a wedding, she attended their funeral, and mourns their loss.

52. The murder of her brother, David, and niece, Naava, has caused Geela severe mental
anguish, pain and suffering and extreme emotional distress as a result of said losses, all to her damage

The Baxter Family (3}

53. lack Baxter is a United States national and a resident of the State of New Yorl<.

54. lack, an American film producer, was seriously injured by a suicide bomber while at
l\/lil<;e’s Place, a music club in Tel Aviv, lsrael, on April 30, 2003. HAMAS claimed responsibility for
the bombing. Two HAMAS terrorists traveled from the United Kingdom and carried out the attack:
Assef l\/lohammed l-lanif and Omar Sharif. One of the terrorists detonated a bomb inside the club. The
other terrorist’s bomb malfunctioned and did not detonate. lie later drowned in the sea while
attempting to escape The nightclub is located next door to the US Embassy to Israel and is frequented
by many tourists and US Embassy personnel This terror attack was within the scope of the scheme and

conspiracy described below in which Arab Bani< was a knowing and active participant

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55. lack Baxter was on the front patio of l\/like’s Place at around 1:00 a.m. Tlie bar was near
capacity when a suicide bomber detonated his explosives at the entrance of the club, killing 3 people
and wounding more than 50 (fit`ty), including Jacl<, who was just a few steps from the blast.

56. Jacl< Baxter was knocked into a coma and clung to life for three days at Ichilov llospital
in 'l`el Aviv. Film footage depicts the terrible carriage and reflects the impact of this terror attack at
Mike’ Place. 'l`he film is called Blues by the Beuch. .

57. As a result of the terror attacl<, Mr. Baxter is still suffering from a brain contusion,
hearing loss, and burns that have peeled away skin from his face and arms Mr. Baxter is also partially
paralyzed lack Baxter has suffered immense pain, suffering, mental anguish, extreme emotional
distress, permanent disabling injuries, medical expenses, life’s expenses, loss of income, loss of
consortium and irreparable disruption to his life, work and family life, all to his damage

58. Frarl Strauss Baxter is a citizen of the United States and a resident of the State of New
York. She is the wife of lack Baxter.

59. Fran Strauss Baxter tried to fly to Israel to see him but was stopped by lsrael’s general
work strike and other problems She suffered terribly upon learning of the attack upon her husband,
and her inability to be at her husband’s side while he was in a coma, clinging to life She arrived two
days after the attack, on a flight organized and paid for by the Israeli Embassy, just as lack left the
intensive care unit.

60. The attack against her husband, Jack. has caused Fran severe mental anguish, pain and
suffering and extreme emotional distress, as well as irreparable disruption to her family life, relations
with her husband, loss of consortium, loss of income and resultant damages, all to her damage

61. Billy Baxter is a citizen of the United States and a resident of the State of New York.

lie is the father of Jacl< Baxter.

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62. The attack against lack has caused Billy severe mental anguish, pain and suffering and
extreme emotional distress, all to his damage

63. Catharine Baxter is a citizen of the United States and a resident of the State of New
York. She is the mother of lack Baxter.

64. The attack against lack has caused Catharine severe mental anguish, pain and suffering
and extreme emotional distress, all to her damage

65. Barbara Psaroudis is a citizen of the United States and a resident of the state of New
Jersey. She is the Sister of lack Baxter.

66. 'Yhe attack against her brother lack has caused Barbara severe mental anguish, pain and
suffering and extreme emotional distress, all to her damage

Chava Tziporah Cohen (4}

67. Chaya 'l`ziporah (“Tzippy”) Cohen is a citizen of the United States and a resident of
Brooklyn, New York.

68. Tzippy was seriously injured along with 50 others on September 9, 2003 when a
Paiestinian suicide bomher entered the Café Hillel in lerusalein, Israel and detonated his explosives
'l`zippy was in Israel for a 2 1/2 week vacation. Seven people were killed in the terror attack, including
Dr. ljavid Applebaurn and his daughter, Naava Applebaum. HAMAS claimed responsibility for the
terror attack, which was carried out by HAMAS terrorist Rarnez Slmi A‘nu»-Salem. This terror attack
was within the scope of the scheme and conspiracy described below in which Arab Bank was a
knowing and active participant

69. Tzippy was struck with shrapnel in the back from the bomb and was hospitalized for

several days. She saw and heard horrible things as she ran from the biown up cafe with her friends

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She has suffered pain, scars and severe emotional distress and mental anguish as a result of this terror
attack, all to her damage.

The Fenichel Faglilv (5)

70. Plaintiff Netanel Fenichel is an eighteen (18) year old citizen of the United States. lie is
a resident of the lsraeli city of Efrat.

71. Plaintiff llanit Fenichel, Netanel’s twin sister, is also a United States citizen and a
resident of the lsraeli city of Efrat.

72. Netanel and llanit were seated in their parents’ automobile on l\/larch 31, 2002 while
their mother was driving past the local supermarket and medical center when a suicide bomber
detonated his explosives This terror attack was within the scope of the scheme and conspiracy
described below in which Arab Bank was a knowing and active participant

73. Shrapnel from the blast pierced the roof of the Fenichels’ family car and fractured the
top ofl\letanel’s skull, seriously injuring him and horrifying his mother and sister. Netanel was rushed
to the nearby medical center and was quickly operated on at Hadassah Hospital in lerusalem. He has a
permanent hole in the top of his skull. As a result of the attack, Netanel and llanit Fenichel, and their
family, have each suffered severe physical pain, mental anguish and extreme emotional distress, all to
their damage

74. "l`he Al Aqsa Martyrs Brigade (AAMB), a terrorist organization that is the armed wing
of the Fatah terrorist organization, operating within the Palestinian territories, claimed responsibility
for the terror attack, which wounded five people, including four paramedics from the nearby medical
center. The suicide bomber was lamil Khalaf Hamied.

75. Ilanit has been psychologically traumatized by the terror attack. For more than one

week following the attack, she would not leave her parents’ house. 'fhe sound of emergency vehicles

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or news about additional recent terrorist attacks trigger llanit’s recurring anxiety attacks. As a result of
the attack that injured her brother, Ilanit Fenichel has suffered severe mental anguish, pain and
suffering and extreme emotional distress, alito her damage

76. Plaintiff l\/Ioshe Fenichel is a citizen of the United States and a resident of the israeli
city of Efrat. He is the father ofNetanel and llanit Fenichel.

77. As a result of the attack that seriously injured his son and daughter, he has suffered
severe mental anguish, trauma, pain and suffering and extreme emotional distress, all to his damage

78. Plaintiff Del)orah Fenichel is a citizen of the United States and a resident of the lsraeli
city of Efrat. She is the mother of Netanel and llanit Fenichel and the wife of i\/loshe Fenichel.

79. Deborah was driving her car with her two children in the vehicle when the suicide
bomber detonated his explosive charge and the shrapnel seriously injured her son. She spent eight (8)
hours in clothing soal<ed with her son’s hlood, unaware of his prognosis. She has provided care to her
son during his continued recovery from his injuries As a result of the attack that seriously injured her
son and daughter, De`corah Fenichel has suffered severe mental anguish, trauma and extreme
emotional distress, all to her damage

'I`he Gottlieb Falnil 6

80. Moshe Gottlieb was a United States national who was residing in israel on June 18,
2002, when he was murdered by a Palestinian terrorist HAi\/IAS was responsible for this terror attack,
which was carried out by HAMAS terrorist Moharnmed Haza’Kaied al-Ghoul.

Sl. Dr. Gottlieb was killed on lune 18, 2002, when the suicide bomber boarded Egged Bus
No. 32A at 7:50 a.m. near Gilo, israel and detonated a large bomb which was carried in a bag stuffed
with ball bearings Nineteen people were killed (from age ll to 72) and 74 were injured in this terror

attack. ’l`he attack completely destroyed the crowded bus carrying many young students to school and

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others to work. This terror attack was within the scope of the scheme and conspiracy described below
in which Arab Bank was a knowing and active participant

82. Dr. Gottlieb boarded the bus en route to Bnei Brak, located within the State of lsrael,
where he was due to work with a group of children with Down’s Syndrome. For years, Dr. Gottlieb
had been treating these children for free once a week.

83. Sheila Gottlieh is a citizen of the United States and is the wife of Dr. Gottlieh. The
murder of her husband has caused her severe mental anguish, pain and suffering, loss of consortium
and extreme emotional distress, all to her damage

84. Seymour Gottlieb is a citizen of the United States and is the son of `Dr. Gottlieb. The
death of his father has caused him severe mental anguish, pain and suffering and extreme emotional
distress, all to his damage

85. Faye Chana Benjaminson is a citizen of the Untied States and is the daughter of Dr.
Gottlieb. The death of her father has caused her severe mental anguish, pain and suffering and extreme
emotional distress, all to her damage

The Linde Famiiy g71

86. lohn Linde, Jr. was a United States citizen and resident of the State of 'i`exas.

87. lohn llinde, Jr. was a third generation United States Marine and parachute jumpmaster.
lohn left the Marine Corps after eight and a half years of active duty and two years of duty as a full
time reservist to join the Virginia-based private security firm l)ynCorp in order to earn more money to
support his young wife, Courtney, who had recently been diagnosed with bone cancer. .lohn and two
other DynCorp employees were part of a security detail escorting U.S. diplomats on their way to

interview Palestinian applicants for Fulbright scholarships when the vehicle he was in was blown up

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by a remote-controlled bomb near the Beit Hanoun junction in Northern Gaza, in Palestinian territory,
on October 15, 2003. llc was 30 years old at the time of his death

88. The attack that murdered .lohn Linde, Jr., Mark Parsons and another young American
was an act of international terrorism within the scope of the scheme and conspiracy of which Arab
Bank was part, as alleged in detail below. While the identities of the particular terrorists who carried
out this terrorist attack pursuant to the conspiracy in which Arab Bank participated are currently
known only to Arab Bank’s co~conspirators, the attack is believed to have been committed by
HAMAS, PIJ, AAMB, the Popular Resistance Committees, I-iezbollah or some combination of those
terrorist organizations Dei"endant Arab Bank provided financial services, directly or indirectly, to
some or all of those terrorist organizations The Popular Resistance Cornmittees is an alliance of
various armed terrorists that has actively pursued terrorist attacks during the Second lntifada, primarily
in Gaza. lt consists mainly of terrorists belonging to Fatah and dissident members of the PA security
forces lt was led by Ahu Samhadaneh at the time of the terror attack on the American diplomatic
convoy.

89. Courtney Linde is a citizen of the United States and resident of the State of "l_`exas. She
is the widow of John Linde, Jr. She is the legal representative of the Estate of Jolm Linde, Jr. and
brings this action individually, and on behalf of the Estate of lohn Linde, Jr., which is a Plaintiff in this
action.

90. Cou;rtney was diagnosed with bone cancer on July lO, 2002, less than two weeks before
she and John Linde, lr. planned to be married 'l`hey were married on .luly 22, 2002.

91. Courtney was notified of her husband’s death when she received a phone call from

DynCorp at 4:00 a.rn. local time on Octo‘oer l5, 2003.

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92. 'l`he murder of her husband has caused Courtney to suffer severe mental anguish, pain
and suffering, trauma, loss of consortinm, loss of income, other economic damages and extreme
emotional distress, alito her damage

'I`he Nainii Famil 8

93. Foruk Nairni was a citizen of Israei when she was murdered in lsrael on March 27, 2002
white celebrating the Passover Seder.

94. Foruk was killed when a Palestinian suicide bomber entered the Park Hotel in Netanya,
Israel and detonated a bomb in the midst of the i’assover holiday Sed'er. HAMAS claimed
responsibility for this suicide bombing of a religious event which killed 30 people and wounded more
than 100. This terror attack was within the scope of the scheme and conspiracy described below in
which Arab Bank was a knowing and active participant

95. Tlie homicide bomber and HAMAS terrorist who committed this atrocity was Abdel
Bassat Qassem Odeli. Odeh was assisted with the planning and execution of the terror attack by
others, including, but not limited to, Abbas al~Sayed, from Tulkarem. ln 2005, Abbas al~Sayed was
found guilty by a District Court in Tel Aviv, Israel of overseeing the Park Hotel attack.

96. Plaintit`f Moshe Nairni is a citizen of the United States and resides in New Jersey. He is
the son of Forul<. The death of his mother has caused him severe mental anguish, pain and suffering,
trauma and extreme emotional distress, alito his damage

The Nevies Family g9!

97. Rebecca Nevies is a thirty six (36) year old citizen of the United States and oi` the State
of israel. She resides in Israei.

98. Rebecca was riding the No. 14 bus in Jerusalern on Sunday, February 22, 2004 when a

suicide bomber detonated his explosives, murdering eight (8) people and wounding more than sixty

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(60) others, including Rebecca. This terror attack was within the scope of the scheme and conspiracy
described below in which Arab Bank was a knowing and active participant

99. Rebecca suffered a shrapnel injury to her foot, hearing loss, and cuts and burns to her
legs and i`ace. She suffered serious physical injuries as a result of the terror attack. Rebecca also
suffers from severe mental anguish, pain and suffering trauma, loss of consortium and extreme
emotional distress which was intensified by the horritic scene she witnessed in the aftermath of the
explosion, all to her damage She is the mother of four children

i00. Al Aqsa Martyrs Brigade ciaimed responsibility for the terror attack, which was
committed by AAMB terrorist Mouhamrnad Issa Khalil Za”oul.

lOt. Naphtali Nevies is a citizen of Great Britain and a citizen of the State of Israel. He is a
resident of israei. Naphtaii Nevies is the husband of Rebecca Nevies.

102. As a result of the attacl<;, and as the father of four small children, , Naphtali Nevies has
suffered severe mental anguish, trauma, ioss of consortium and extreme emotional distress, all to his
damage

'I`he Pgrsons Fapilv (l€l

103. Mark Parsons was a United States nationai and a resident of the State of
Colorado. He was 31 years old at the time of his death.

104. On October 15, 2003, l\/lark Parsons and two other DynCorp empioyees, including lohn
Linde, Jr., were part of a security detail escorting U.S. diplomats on their way to interview Palestinian
applicants for Fulbright scholarships when the vehicle he was in was blown up by a remote controlled
bomb near the Beit Hanoun junction in northern Gaza.

105. The attack that murdered Ma.rk Parsons, John Linde, Jr. and another young American

was an act of international terrorism within the scope of the scheme and conspiracy of which Arab

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Bank was a part as alleged in detail beiow. 'l`he particular terrorists who carried out this terrorist attack
pursuant to the conspiracy in which Arab Bank participated are currently known only to Arab Bank’s
co~conspirators, the attacks was committed by HAMAS, PIJ, AAMB, the Popular Resistance
Comrnittees, l-Iezbollali or some combination of those terrorist organizations Defendant Arab Bank
provided financial services, directly or indirectly, to some or all of those terrorist organizations

l06. lolm W. Parsons and Agnes Parsons are citizens of the United States and residents of
the State of New Jersey. 'l`hey are the parents of Marl< Parsons. The murder of their son has caused
lohn W. and Agnes Parsons severe mental anguish, pain and suffering trauma and extreme emotional
distress, all to their damage

107. Recently lohn W. Parson passed away. His estate is a plaintiff in this action

108. Mary Lazin is a citizen of the United States and a citizen of the State of l\iew York. She
is the sister of l\/lark Parsons.

109. The murder of her brother l\/larl< has caused Mary severe mental anguisli, pain and
suffering, trauma and extreme emotional distress, all to her damage

llO. Catherine Tyukody is a citizen of the United States and a citizen of the State of New
lersey. She is the sister of Mark Parsons.

lll. The murder of her brother l\/iark has caused Catherine severe mental anguish, pain and
suffering trauma and extreme emotional distress, all to her damage

The Freirmark Familv (11)

l12. Ariela Freirmark and her parents are United States nationals 'l`hey currently reside in
the State of Israel.

ll3. On June ll, 2003, Ariela Freirmark was on Bus 14A in Jerusalem, lsrael on her way to

a course in sign language Ariela is a speech therapist who works with handicapped children and she

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had left home to take the bus to attend the course At the time, Ariela was 26 years old. She is the
daughter of Menachem and Hadassah Freirmark. The Freinnark family grew up in Detroit, i\/Iichigan
and have resided in lsraei since approximately i982 when Ariela was 4 years old. Around 5:30 p.m.,
an individual dressed as an ultra-orthodox religious Jewish person boarded Egged Bus No. l4A at the
Mahane Yehuda Market, and a short whiie later, as the bus drove down Jaffa Road, in Jerusalem,
within the State of Israel, he detonated his bomb wrecking the bus and killing sixteen passengers
Over 100 people were wounded, including dozens of nearby pedestrians HAMAS claimed
responsibility for the bombing The suicide bomber who committed this brutal attack on behalf of
HAl\/IAS was Ahed Al Mo’ti Mohammad Shabana. The terrorist was carrying a huge bomb containing
a great deal ot` metal fragments, creating massive injuries This terror attack was within the scope of
the scheme and conspiracy described below in which Arab Bani< was a knowing and active participant

ll4. Ariela suffered serious physical, personal and emotional injuries, pain, suffering mental
anguish, trauma and damage as a result of the explosion The blast caused her to lose consciousness
When she awakened on the bus, she saw scores of people dead and injured lying around her. She
suffered shrapnel wounds and a hearing loss which has required numerous operations and medical
attention, as well as the expenditure ot` significant medical expenses on her behalf. Her injuries are
permanent and ongoing and she has suffered pain, sears and severe emotional distress and mental
anguish She required surgery to remove the bolts from her body that were contained in the bomber’s
explosives

115. Menachem and Hadassah Freirmark are the parents of Ariela Freirmark. They have
suffered severe emotional distress and trauma as a result of their daughter being a victim oi` this
terrorist attack. They have also incurred medical and lite expenses for the reasonable and necessary

care of Ariela that was caused by this inoident, all to her and their damage

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The Horovitz Famil 12

il6. Eli Natan and Debra Ruth Herovitz, husband and wife, were citizens of the United
States and Were in their apartment on Friday, March 7, 2003 eating Shabbat dinner when terrorists
disguised as students infiltrated Kiryat Arba, lsrael shooting and killing them both. The Estates of
each are Plaintifi°s herein HAMAS claimed responsibility for the terror attack This terror attack was
within the scope of the scheme and conspiracy described below in which Arab Bank was a knowing
and active participant

117. l\/loshe and Leah Horovitz are United States nationals who currently reside in lsrael.
They are the natural parents of Eli Natan Horovitz, and the in-laws of Debra R.uth Horovitz..

118. They heard about their son’s and daughter-in-law’s deaths through their granddaughter
Their son’s and daughter~in-law’s deaths caused them severe mental anguish, pain and suffering,
trauma and extreme emotional distress

119. Shulamite Horovitz is a citizen of the United States and currently resides in lsrael. She
is the daughter of Eli Natan and Debra Ruth Horovitz.

120. Shularnite was the first in her family to hear about her parents’ death.

121. She was visiting friends in Eilat on the day her parents were murdered Her parents
were scheduled to go to Eilat with her, hut, because her mother was not feeling well, they decided to
meet Shularnite in Eilat the following day instead

122. Shularnite learned of her parents’ murders while still in Eiiat, but could not reach any of
her family members and could not return to ferusaleni to be With her family because of Shabbat.

123. She returned to Jerusalern and told her family the tragic news.

124. The family in Israel congregated together at Eli’s parents’ house and prepared the

funeral arrangements

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125. Her parents’ deaths and the pain, mental anguish, trauma and suffering she endured
while waiting to be able to return to Jerusalem and be With her family caused Shulamite severe mentai
anguish, trauma and extreme emotional distress

126. Batsheva Horovitz is a citizen of the United States and currently resides in lsraei. She
is the daughter of Eli Natan and Debra Ruth Horovitz.

127. She found out about her parents’ deaths through her sister Shulamite. Her parents’
deaths caused her severe mental anguish, trauma and extreme emotional distress

i28. Nechama Horovitz is a citizen of the United States and currently resides in Israel. She
is the daughter of Eli i\latan and Debra Ruth Horovitz.

129. She found out about her parents’ deaths through her sister Shulamite. Her parents’
deaths caused her severe mental anguish, trauma and extreme emotional distress

130. Tvi Horovitz is a citizen of the United States and currentiy resides in lsrael. He is the
son of Eli Natan and Debra Ruth Horovita.

131. lie found out about his parents’ deaths through his sister Shularnite. His parents’ deaths
caused him severe mental anguish, trauma and extreme emotional distress

132. Ari Horovitz is a citizen of the United States and currently resides in lsrael. He is the
brother of Eli Natan Horovitz.

l33. He heard of his brother’s and sister-in-law’s murders through his family in lsrael. Their
deaths caused him severe mental anguish, trauma and extreme emotional distress

134. David Horovitz is a citizen of the United States and currently resides in Israel. He is the
brother of Eli Natan Horovitz.

135. lie heard of his brother and sister»in-law’s murders through his family in lsraei. 'i`heir

deaths caused him severe mental anguish, trauma and extreme emotional distress

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136. Tovi Horovitz is a citizen of Florida and Washington and currently resides in lsrael. lie
is the brother of Eli Natan Horovitz.

137. He heard of his brother’s and sister-in-law’s murders through his family in Israei. 'l`heir
deaths caused him severe mental anguish, trauma and extreme emotional distress

138. Uri Horovitz is a citizen of the United States and currently resides in lsrael. He is the
brother of Eli i\latan Horovitz.

139. He heard of his brother’s and sister-in»-law’s murders through his family in Israel. Their
deaths caused him severe mental anguish, trauma and extreme emotional distress

140. Bernice Wolf is a citizen of the United States and currently resides in Israel. She is the
natural mother of Debra Ruth Horovita.

l¢ll. Mrs. Wolf lived in Florida when her daughter was killed, but had plans to move to
lsrael to live with her daughter

142. Accordingly, she did not hear the news of her daughter’s and son-in~law’s murders with
the rest of the family in lsrael, but was alone when she learned of her daughter’s murder

343. Mrs. Wolf originally learned that a couple in Kiryat Arba was murdered by terrorists
When she read about the attack on the internet on Friday, i\/larch 7, 2003.

l44. Because the article she read did not give the names of the victims, Mrs. Wolf had no
confirmation that her daughter and son~in-law Were the couple murdered in their home, although she
Was severely distressed by the news and feared that they were the ones killed

145. Mrs. Wolf could not reach her daughter and had heard nothing by the next morning

146. l\/lrs. Wolf attended the Saturday morning service at her synagogue.

147. When she returned, she received a telephone call from her granddaughter in lsrael

informing her that her daughter and son in law, Debra and Eli, were murdered in the attack.

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148. Mrs. Wolf was devastated upon hearing the news of her daughter’s and son-in-law’s
murders

349. Despite her immense personal grief, l\/lrs. Wolf had just two hours to pack her
belongings, pass on the horrible news to her family in the United States and meet with officials from
the lsraeli Embassy to retrieve her ticket to lsrael, so she could attend her daughter’s and son-in-law’s
funeral the next day.

150. l\/lrs. Wolf waited franticaily in her horne for someone to arrive from the Ernbassy, but
nobody came

l$l. Eventuaily, Mrs. Wolf was forced to buy a ticket to Israel, as she feared she would miss
her daughter’s and son-in-law’s funeral.

152. She flew by herself to Canada, where she met her son, Stanley, and they completed the
remainder of the trip to israel to gether.

153. When they arrived in Israei, they met Mrs. Wolt”s other son, Brian Wolf, and the three
drove to Jerusalem together

154. When they arrived in Jerusalern, the funeral procession had begun five hours before,
and they were escorted through a crowd of more than lS,OOO people to reach the covered bodies.

155. Mrs. Wolf is nearly eighty years old and currently resides in lsrael. Because she had
planned to live in israel with her daughter and son~in»law, her future there remains uncertain

356. ln addition to the fear for her own future, the murders of Eli Natan and Debra Ruth
Horovitz have caused Mrs. Wolf severe mental anguish, pain and suffering, trauma and extreme
emotional distress, all to her damage

157. Stanley Wolf is a citizen of the United States and a citizen of the State of Florida. He is

the brother of l)ebra Ruth Horovitz.

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158. liis mother told him of his beloved sister’s death over the telephone

159. His sister’s and hrother»in~law’s murders caused him severe mental anguish, trauma and
extreme emotional distress, ali to his damage

160. Brian Wolf is a citizen of the United States and a citizen of the State of Maryland. lie is
the brother of Debra Ruth Horovitz.

l6l. Mrs. Wolf was unable to reach him by telephone, and so he found out about his sister’s
death through a voice mail lVlrs. Wolf left for him on his answering machine

l62. He then flew to israel to attend his sister’s and brother~in~law’s funeral

l63. Due to his immense grief, Mr. Wolf was unable to stand on his own as he viewed his
sister’s covered body at her funeral, which lasted more than 13 hours

164. liis sister’s and brother»in~law’s murders caused Mr. `Wolf severe mental anguish, pain
and suffering, trauma and extreme emotional distress, ali to his damage

The Klieman Famil 13

l65. On March 24, 2002, Esther Klieman, a citizen of the of the United States, age 23, was
aboard Egged Bus Route 468 in Israel when she was struch in the heart and killed by bullets fired from
a weapon held by terrorists who were positioned on a bridge near the road leading into Jerusaleni,
lsrael. Al Aqsa Martyr’s l?>rigade and the related Fatah group, Force 17, claimed responsibility for the
terror attack. This terror attack was within the scope of the scheme and conspiracy described below in
which Arab Banlr was a knowing and active participant

166. A number of terrorists were responsible and have 1oeen found guilty for this
premeditated murder, including Hussam Abdul-Kader Ahmad Halabi aka Abu Arav, Tamer Rassam
Salim Rimawi and Ahmed liamad Rushdie Hadib aka Ahmed Barghouti. Tamer Rassarn Salim

Rirnawi has been sentenced to life in prison as a result of his murdering of Esther Kliernan. lie is a

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terrorist who was a member of the Al Aqsa Martyrs Brigade. tie has admitted to shooting a
Kalyshnikov ritle at the bus on which Esther was riding. l~le received orders from his superiors in the
Al Aqsa Martyrs Brigade to perform the operation that murdered Esther Klieman. He was paid monies
from the Al Aqsa Martyrs Brigade, the terrorist armed wing of the terrorist organization Fatah, for his
services Prior to murdering Esther Klieman, he had been injured while throwing stones at the israeli
police or defense forces. As a result of his injury, he subsequently received a call from an officer of
the Arab Bank in Rarnallah, located in the West Bank in Palestinian territory near lsrael. lie didn’t
have a bank account at the Arab Bank, but the officer of the Arab Bank told him to come to the Bank,
to receive Saudi funds from the Arab Bank as compensation for his injury. He went to the Arab Bank
in Ramallah, where the Arab Bank officer gave him a check in the amount of one thousand three
hundred dollars ($1300.00) because he had been injured while throwing stones at Israeii police or
defense forces The officer of the Arab Bank had him sign the back of the checi<, and the officer of the
Arab Banl<: then cashed the check for him, giving him United States dollars. lt was commonly known
that people who were injured in terrorist operations against Israei, and against people in lsrael, would
receive money from the Arab Bank, and this terrorist actually received such funds from the defendant
Arab Bank, PLC. Said defendant knowingiy, actively, wiiiingiy and intentionaliy participated in the
creation, planning, designing and execution of a scheme and conspiracy to provide incentives to
terrorists and terror organizations, and rewards to them for their terrorist acts, including but not limited
to monies in United States dollars (“USD”) if the terrorists were killed, injured, captured or imprisoned
as a result of the comrnission, or attempted commission, of terrorists operations against lsraei, her
citizens, those residing in or near lsrael, and those visiting or working in Israel. Defendant Arab Bank,
PLC is liable to the Estate of Esther Klieman, and to her parents, brothers and other family members

for their irrepiaceabie loss, for their trauma, their extreme emotional distress, and for the taking of the

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precious life of Esther Klieman, as a result of the murder of Esther Klieman which occurred within the
scope of the conspiracy, scheme, plan and design in which the Arab Banl{ knowingly and willingly
participated by providing incentives and rewards for the commission of terrorism and of murder and
maiming, all to the damage of the Plaintiffs herein, and each of them

167. The Estate of Esther Klieman, a Cool< County, illinois estate, is represented in this
action by Aaron Kesner, duly appointed by said court as the Administrator of said Estate.

168. Nachman and Ruanne Klieman are citizens of the United States and lsrael and currently
reside in lsrael. They are the natural parents of Esther Klieman.

t69. On the morning of l\/iarch 24, 2002, Nachrnan drove his daughter Esther to the bus stop
and saw her board the 7:00 a.m. Egged civilian bus which would take her to worlc. By 7110 a.m., he
and his wife Ruanne were driving towards Ben Gurion Airport where she worked After dropping
Ruaune off, Nachman intended to drive to his job at EL AL israel Airlines when he heard a bulletin on
the radio that a shooting attack had been carried out on a vehicle on the road that they were driving on
but in the opposite direction The news bulletin indicated that a woman had been seriously inj ured.

170. Nachrnan and Ruanne never considered that the vehicle might be the bus on which
Esther was riding However, they tried to reach a friend who was a member of the emergency
response team of their community in order get some information about what happened but were not
able to reach hint

171. As they continued their drive to work, reports on the radio indicated that the vehicle was
indeed a civilian bus and that a woman had been seriously injured in the shooting attack.

172. They both began to feel anxious and afraid for the life of their daughter.

173. Nachman dropped Ruanne off but remained in the parking lot and began to make phone

calls. A news update indicated that the woman had died. Their three sons, who had also heard the

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reports, called Nachman one after the other for information but he told them that he would get back to
them. Upon reaching his friend on the emergency committee, Nachman asked him about the shooting
When he did not respond, Nachman knew that it was his daughter. Nachman remembers crying and
shouting at him, and asked him to tell hirn if it was Esther. His repiy, was a whispered, “i can’t”.
After hanging up, he sat in the car crying and thinking about how he could tell his wife that their
daughter had been murdered

174. When Nachman left the car and approached his wife’s office he saw her outside moving
from her building to another. From fifty feet she saw his face and instantly knew what had happened
Nachman will never forget her scream. ”they held each other as people from the office poured outside
after hearing her screaming Instinctively they moved towards their car in order to be aione. The
phone in the car rang and rang as a trauma team from the community went into action and contacted
them. They intended to send a car to drive Nachman and Ruanne horne where they would be attended
by a Doctor and a Psychologist. ri`hey retilsed the ride, and drove home together When they arrived
horne an ambulance was waiting outside and a Doctor, Psychoiogist, and Sociai Worker were all
present and stood by them as they contacted their three sons who then went to their parent’s house.
They stood by their parents in the ensuing hours as they made funeral plans and tended to the
emotional needs of their family members, who included Ruanne’s eighty year old mother, a daughter~
in~law and infant granddaughter. During the hineral procession and interrnent, the medical team stood
by them along with many friends and relatives

175. Nachrnan took an extended vacation from his job with EL AL and was subsequently
granted early retirement, as he was physically and emotionally unable to continue his work after his
daughter’s murder. lie couldn’t return to the pressure and long hours, which were a part of his work

ethic. He has spent time trying to accompany his wife and sons through their healing process and to

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volunteer in the organization that Esther herself had volunteered for, working with children with
limited mental and physical development Ruanne has also joined Nachrnan in this endeavor. 'l`he
murder of Esther Kliernan has caused the Kliemans' extreme emotional distress, trauma, pain, suffering
and the loss of the love and affection of their beloved daughter, Esther, who was as good as gold, and
whose life and love cannot be replaced

176. Dov Klieman is a citizen of the United States and Israel and currently resides in israel
lie is the brother of Esther Klieman.

177. Gavriel Kliernan is a citizen of the United States and Israel and currently resides in
lsrael. He is the brother of Esther Klieman.

178. Yosef Klieman is a citizen of the United States and Israel and currently resides in Israel.
He is the brother of Esther Klieman.

179. Dov, Gavriel and Yosef all shared special relationships with their sister who they loved
and who loved them. Esther always had the patience and time to devote to each one and was able to
relate to their different personalities

180. The Kliemans have all sought assistance and counseling from social workers as well as
group therapy throuin group forums with other families who were victimized by terrorists. "l`he mental
pain and suffering trauma and extreme emotional distress and anguish each of Esther’s siblings and
parents continue to experience is immeasurable, all to their damage

The Margalit Farnilv (14)

lSl. Evyatar Margalit is a citizen of the United States and a resident of the State of lsrael.

182. On June ll, 2002, Evyatar was a 15-year-old teenager attending school in lsrael. lie
was seriously injured when a bomb placed in a field by a terrorist exploded. As a result, Evyatar spent

several months in the hospital and suffered through over nine surgical medical operations, treating his

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wounds and burns 'i"he perpetrator of this terrorist attack was an individual sent by Force 17, which is
affiliated with the Palestinian Authority’s Fatah Organization, a terrorist organization

183. Evyatar l\/iargalit has suffered severe physical pain and mental anguish, trauma and
extreme emotional distress as a direct result of this terrorist attack, which was within the scope of the
scheme and conspiracy, described below, in which Arab Bank actively participated

184. Deborah and Natan Margalit are United States nationals who currently reside in Israel.
'i`hey are the parents of Evyatar Margaiit.

l85. As a result of the terrorist attack on their son, they have suffered severe mentai anguish,
pain and suffering, trauma and extreme emotional distress and have incurred medical expenses for the
necessary medical treatment for their son, alito his and their damage

The Pam Famii 15

l86. Rivka Parn is a citizen of the United States.

187. On June ll, 2003, lG-year-old R.ivka Pam was on Bus No. 14A in Jerusalem, Israel.
Around 5:30 p.m., an individual dressed as an ultra-orthodox Jew boarded Egged Bus No. 14A at the
Mahane Yehuda market, and a short while later, as the bus drove down laffa Road, within .Terusalem,
lsrael, he detonated his bomb, wrecking the bus and killing sixteen passengers Over 100 people were
wounded, including dozens of passersby. HAMAS claimed responsibility for the bombing The
suicide bomber who acted for HAMAS to commit this brutal attack was Abed Al Mo’ti l\/loharnniad
Shabana. He carried a huge bomb containing a great deai of metal fragments that caused massive
injuries This terror attack was within the scope of the scheme and conspiracy described below in
which Arab Bank was a knowing and active participant

188. Rivka works with children and this teenager’s life has changed dramatically as a result

of her injuries in this terrorist incident She was hospitalized for a number of days in intensive care,

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suffered burns, lung damage, eye injury, scarring and severe hearing loss, which requires future
medical and surgical care Her happy outgoing personality has been affected because of the severe
emotional distress and hearing loss, pain, suffering, mental anguish, trauma and extreme emotional
distress that she has experienced from this terrorist attack, all to her damage

i89. Phyllis Pam is a United States citizen and currently resides in the State of Israel. She is
the natural mother of Rivka Pam.

190. Phyllis has suffered severe emotional distress, trauma, pain and anguish as a result of
her daughter being seriously injured in this terrorist incident She has also incurred medical expenses
for the reasonable and necessary care of Rivka that was caused by this incident, all to her damage

ge Nathansen Fan_iilv (16)

i9l. rl`ehilla l\iathansen was killed and Chana, l\/latanya, Shoshana and Yehudit Nathansen
were injured in the bombing of Bus No. 2 in Jerusalem, israel on August 19, 2003. HAl\/iAS claimed
responsibility for the bombing The HAMAS terrorist who committed the suicide bombing was Ra’ed
Abed Al-Hamed. 'f`his terror attack was within the scope of the scheme and conspiracy described
below in which Arab Bank was a knowing and active participant

192. The Estate of Tehilla Nathansen and Chana, Matanya, Shoshana and Yehudit Nathansen
individually are listed as plaintiffs in Linde v. Arab Bank, a related action that is pending in the U.S.
District Court for the Eastern District of New York, and accordingly their claims are not separately
pled herein but are incorporated herein by reference

193. Rachel l?otolski is a citizen of the United States and Israel and currently resides in
Israel. She is the sister of Chana Nathansen.

194. The injury to her sister Chana has caused Rachel severe mental anguish, trauma, pain

and suffering and emotional distress, alito her damage

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195. Ovadia Topporowitch is a citizen ot` the United States and lsraei and currently resides in
lsraei. She is the sister of Chana Nathansen.

196. The injury to her sister Chana has caused Ovadia severe mentai anguish, traurna, pain
and suffering and extreme emotional distress, alito her damage

197. Tehila Topporowitch is a citizen of the United States and Israel and currently resides in
Israel. She is the sister of Chana Nathansen.

198. The injury to her sister Chana has caused ri`ehila severe mental anguish, trauma, pain
and suffering and extreme emotional distress, alito her damage

i99. Yisrael Topporowitch is a citizen of the United States and israel and currently resides in
Israel. lie is the brother of Chana Nathansen.

2()0. The injury to his sister Chana has caused Yisrael severe mental anguish, trauma, pain
and suffering and extreme emotional distress, all to her damage

201. Yitzchal<; Topporowitch is a citizen of the United States and israel and currently resides
in lsrael. He is the brother of Chana Nathansen.

202. The injury to his sister Chana has caused Yitzchal< severe mental anguish, trauma, pain
and suffering and extreme emotional distress, alito his damage

The Reinitz Fainil 17

203. l\/lordechai Reinitz and his two sons, Yissocher Dov and Mendy, citizens of the United
States, were on bus No. 2 in .lerusalem, Israei on August 19, 2003 when a suicide bomber detonated his
weapon and the bus exploded HAMAS claimed responsibility for the bombing The HAMAS
terrorist who committed the suicide bombing on the crowded bus was Ra’ed Abed Al»Hamed. 'l`his
terror attack was within the scope of the scheme and conspiracy described below in which Arab Banic

was a knowing and active participant

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204. Mordechai and Yissocher Dov were both killed, and their estates are plaintiffs herein,
and Mendy Reinitz, who was injured in the bombing, is a plaintiff herein individually on behalf of
himself and said estates

205. Mendy received shrapnel wounds in the shoulders and back and underwent intensive
surgery. The surgery was Successful, but l\/lendy Will still have some sbrapnel in his body for the rest
of his life Mendy is a citizen of the United States and of Israel and currently resides in lsrael.

206, The murder of his father, Mordechai, and brother, Yissocher Dov, has caused Mendy
severe mental anguish, trauma, pain and suffering and extreme emotional distress, ali to his damage

207. Chaya Reinitz is a legal resident of the United States and currently resides in Israel.
She is the wife of Mordechai and the mother of Yissocher Dov and Mendy.

208. The murder of her husband, i\/Iordechai, and son, Yissocher Dov, has caused Chaya
severe mental anguish, trauma, pain and suffering and extreme emotional distress, all to her damage

209. l\/ialvia and loseph Reinitz are citizens of the United States and currently reside in
israel They are the natural parents of l\/Iordechai Reinitz.

210. The murder of their son, Mordechai, and grandson, Yissocher Dov, has caused Malvia
and loseph severe mental anguish, trauma, pain and suffering and extreme emotional distress, all to
their damage

211. Nicha Ostreicher is a dual citizen of the United States and lsrael and currently resides in
lsrael. She is the daughter of Mordechai and the sister of Yissocher Dov and l\/lendy.

212. 'ihe murder of her father, l\/lordechai, and brother, Yissocher Dov, and injury to her
brother Mendy has caused Nicha severe mental anguish, trauma, pain and suffering and extreme

emotional distress, all to her damage

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213. Chaim Reinitz is a dual citizen of the United States and israel and currently resides in
Israel. He is the son of Mordechai and the brother is Yissocher Dov and Mendy.

214. The murder of his father, Mordechai, and brother, Yissocher Dov, and injury to his
brother Mendy has caused Chairn severe mental anguish, trauma, pain and suffering and extreme
emotional distress, all to his damage

215. Margali Reinitz is a citizen of the United States and of Israel and currently resides in
Israel. She is the daughter of Mordechai and the sister of Yissocher Dov and l\/Iendy.

216. rl`he murder of her father, Mordechai, and brother, Yissocher Dov, and injury to her
brother l\/lendy has caused Margali severe mental anguish, trauma, pain and suffering and extreme
emotional distress, alito her damage

2l’7. i\/iiriam Reinitz is a citizen of the United States and of Israei and currently resides in
Israel. She is the daughter of Mordechai and the sister of Yissocher Dov and Mendy.

2i8. The murder of her father, l\/iordechai, and brother, Yissocher Dov, and the injury to her
brother Mendy has caused Miriam severe mental anguish, trauma, pain and suffering and extreme
emotional distress, all to her damage

2l9. Rivl<a Reinitz is a citizen of the United States and of lsrael and currently resides in
lsrael. She is the daughter of Mordechai and the sister of Yissocher Dov and Mendy.

22(). The murder of her father, Mordechai, and brother, Yissocher Dov, and injury to her
brother Mendy has caused Rivl<a severe mental anguish, trauma, pain and suffering and extreme
emotional distress, ail to her darnage.

221. Shmuel Reinitz is a citizen of the United States and of Israel and currently resides in

lsrael. lie is the son of l\/iordechai and the brother of Yissocher and Mendy.

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222. The murder of his father, Mordechai, and brother, Yissocher Dov, and injury to his
brother l\/iendy has caused Shmuel severe mental anguish, trauma, pain and suffering and extreme
emotional distress, alito his damage

223. Yaicov Reinitz is a citizen of the United States and of Israei and currently resides in
israel. He is the son of l\/iordechai and the brother of Yissocher Dov and Mendy.

224. The murder of his father, Mordechai, and brother, Yissocher Dov, and injury to his
brother l\/iendy has caused Yakov severe mental anguish, trauma, pain and suffering and extreme
emotional distress, all to his damage

225. Yitchok Reinitz is a citizen of the United States and of lsraei and currently resides in
lsrael. He is the son of Mordechai and the brother of Yissocher Dov and l\/lendy.

226. The murder of his father, Mordechai, and brother, Yissocher Dov, and injury to his
brother Mendy, has caused Yitchok severe mental anguish, trauma, pain and suffering and extreme
emotional distress, alito his damage

227. Leah 'i`auber is a citizen of the United States and of israel and currently resides in
israel. She is the daughter of l\/iordechai and the sister of Yissocher Dov and l\/Iendy.

228. The murder of her father, Mordechai, and brother, Yissocher Dov, and injury to her
brother Mendy has caused Leah severe mental anguish, trauma, pain and suffering and extreme
emotional distress, all to her damage

229. l\/iiriam Ehrenfeld is a citizen of the United States and currently resides in Israel. She is
the sister of Mordeehai.

230. 'l`he murder of her brother, Mordechai, and nephew, Yissocher Dov, has caused Miriam

severe mental anguish, trauma, pain and suffering and extreme emotional distress, all to her damage

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231. Rose Joseph is a citizen of the United States and currently resides in Israel. She is the
sister of Mordechai.

232. The murder of her brother, Mordechai, and nephew, Yissocher Dov, has caused Rose
severe mental anguish, trauma pain and suffering and extreme emotional distress, all to her damage

233. Devora Pollaclc is a citizen of the United States and currently resides in lsrael. She is the
sister of Mordechai.

234. The murder of her brother, l\/iordechai, and nephew, Yissocher Dov, has caused Devora
severe mental anguish, trauma, pain and suffering and extreme emotional distress, all to her damage /

235. Benjamin Reinitz is a citizen of the United States and currently resides in lsrael. lie is
the brother of Mordechai.

236. The murder of his brother, Mordechai, and nephew, Yissocher Dov, has caused
Benjamin severe mental auguish, trauma, pain and suffering and extreme emotional distress, all to his
damage

237. Leibel Reinitz is a citizen of the United States and currently resides in israel. He is the
brother of l\/lordechai.

238. 'i`he murder of his brother, l\/lordechai, and nephew, Yissocher Dov, has caused Leibel
severe mental anguish, trauma, pain and suffering and extreme emotional distress, all to his damage

239. Samuei Reinitz is a citizen of the United States and currently resides in lsrael. lie is the
brother of Mordechai.

240. The murder of his brother, l\/lordechai, and nephew, Yissocher Dov, has caused Samuel
severe mental anguish, trauma, pain and suffering and extreme emotional distress, all to his damage

241. Raizel Shirnon is a citizen of the United States and currently resides in lsrael. She is the

sister of l\/iordechai and aunt of Yissocher Dov.

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242. The murder of her brother, l\/Iordecliai, and nephew, Yissocher Dov, has caused Raizel
severe mental anguish, trauma, pain and suffering and extreme emotional distress, all to her damage

243. Helen Weider is a citizen of the United Stated and currently resides in Israel. She is the
sister of Mordechai and aunt of Yissocher Dov.

244. 'l`he murder of her brother, Mordechai, and ncphew, Yissocher Dov, has caused Helen
severe mental anguish, trauma, pain and suffering and extreme emotional distress, all to her damage

The Richter Famil 18

245. On August l9, 2003, Miriam Leah Richter, her great aunt, Goldie Zarl<owsl<y, and
Goldie’s two children were on Bus No. 2 headed to the Western Wall in Jerusalem, Israei when a
suicide bomber detonated his explosives, injuring Miriam Leah. HAMAS claimed responsibility for
the bombing. The HAMAS terrorist who committed the suicide bombing on the crowded bus was
Ra’ed Abed Al~Hamed. This terror attack was within the scope of the scheme and conspiracy
described below in which Arab Bank was a knowing and active participant

246. Miriarn Leah, Who was nine years old at the time of the bombing, is a citizen of both the
United States and lsrael and currently resides in Israel.

247. As a result of the bombing Miriam Leah had shrapnel iodged in her eye, neck and chest.
She underwent surgery and all of the shrapnel was removed except for what was in her chest She will
live with it there for the rest of her life.

248. Since the attack, Miriam is traumatized. She cannot possibly travel to school by bus.
She wakes up every night very upset. A normally studious child, she finds it difficult to concentrate
She has become a very edgy and anxious child and is easily antagonized. She has endured great pain,

suffering, mental anguish, trauma and extreme emotional distress, all to her damage

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249. Moshe and Yehudis Richter are citizens of both the United States and lsrael and
currently reside in Israel. They are the natural mother and father of Miriarn Leah.

250. 'l`he attack on their daughter l\/liriam has caused Moshe and Yehudis severe mental
anguish, trauma, pain and suffering and extreme emotional distress, as well as medical and life care
expenses, all to her and their damage

251. Avrohorn D. Richter is a citizen of both the United States and lsrael and currently
resides in Israel. lie is the brother of Miriarn Leah.

252. "l`he attack on his sister Miriam has caused Avrohom severe mental anguish, trauma,
pain and suffering and extreme emotional distress, all to his damage

253. Breina Richter is a citizen of both the United States and Israel and currently resides in
Israel. She is the sister ot` l\/Iiriam Leah.

254. 'l`he attack on her sister Miriam has caused Breina severe mental anguish, trauma, pain
and suffering and extreme emotional distress, all to her damage

255. Nechama Richter is a citizen of both the United States and Israel and currently resides
in Israel. She is the sister of Miriarn Leah.

256. Tlie attack on her sister l\/liriam has caused Nechama severe mental anguish, traurna,
pain and suffering and extreme emotional distress, all to her damage

257. Sara Malka Riehter is a citizen of both the United States and lsrael and currently resides
in Israel. She is the sister of Miram Leah.

258. 'l`he attack on her sister Miriam has caused Sara severe mental anguish, trauma, pain
and suffering and extreme emotional distress, all to her damage

259. Shlomo Chaim Richter is a citizen of both the United States and Israel and currently

resides in lsraei. lie is the brother of Miriam Leah.

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260. The attack on his sister Miriam has caused Shlorno severe mental anguish, trauma, pain
and suffering and extreme emotional distress, all to his damage

261. Tranne Richter is a citizen of both the United States and Israel and currently resides in
Israel. She is the sister of l\/iiriarn Leah.

262. The attack on her sister Miriam has caused Tranne severe mental anguish, trauma, pain
and suffering and extreme emotional distress, alito her damage

263. Yakov Yoset` Richter is a citizen of both the United States and Israel and currently
resides in Israel. lie is the brother of l\/.iiriam Leah.

264. The attack on his sister Miriarn has caused Yakov severe mental anguish, tranma, pain
and suffering and extreme emotional distress, alito his damage

265. Yechiel Richter is a citizen of both the United States and Israel and currently resides in
Israel. He is the brother of l\/liriarn Leah.

266. The attack on his sister Miriam has caused Yechiel severe mental anguish, trauma, pain
and suffering and extreme emotional distress, ali to his damage

267. Yisroel Richter is a citizen of both the United States and Israel and currently resides in
Israel. He is the brother of l\/liriarn Leah.

268. The attack on his sister Miriam has caused Yisroei severe mental anguish, trauma, pain
and suffering and extreme emotional distress, all to his damage

269. Yitzchok A. Richter is a citizen of both the United States and israel and currently
resides in israel He is the brother of l\/liriam Leah.

270. 'l."he attack on his Sister Miriarn has caused Yitzchok severe mental anguish, trauma,

pain and suffering and extreme emotional distress, alito his damage

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The Schecter Familv (19)

271. On January 29, 2004, a little before 9 a.rn., Erik Joseph Schecter was on Bus No. 19 in
.lerusalern, Israel when a suicide bombing occurred that killed eleven people and injured several,
including ]E`,rik. I~Iarnas and Al Aqsa Martyrs Brigade claimed responsibility, naming a 24-year~old
Palestinian policeman from Bethlehem as the suicide bomber. The terrorist bomber was Ali Mounther
.Ta’ara. ’i`his terror attack was within the scope of the scheme and conspiracy described below in which
Arab Bank was a knowing and active participant

272. Erik is a citizen of both the United States and of lsrael.

273. Erik Was severely injured during the terror attack. His left knee was broken, his left
shoulder blade was fractured and shrapnel severed his left popliteal vein. lie was not able to walk
again after three months of rehabilitation

274. Even after recuperation, Erik’s legs are scarred. There is still nerve damage that causes
Super~scnsitivity to his left calf. lie Walks with a limp because his leg is held together by two titanium
pins

275. The attack has caused Erik severe mental anguish, trauma, pain and suffering and
extreme emotional distress, as well as economic losses and medical expenses, all to his damage

The Tratner Family (20)

276. On September 24, 2004, Tiferet 'l`ratner, age 24, was killed in her home as she sat on
the couch in Neve Dekalirn by a terrorist mortar attack launched from or near the Gaza Strip. This
murder took place the day before Yom Kippur. l-IAMAS claimed responsibility for the terror attack
and was in fact responsible This terror attack was within the scope of the scheme and conspiracy

described below in Which Arab Bank Was a knowing and active participant

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277. Tiferet was an Anierican citizen and is the daughter of Shlomo Tratner. Prior to her
murder, ’l`iferet worked with the elderly and with people with disabilities Shlomo Tratner has suffered
severe emotional anguish, pain, suffering and distress over the murder of his daughter and brings this
action individually and on behalf of the Estate of Tiferet Tratner for her wrongful death, all to their
damage

The Zarkowskv Familv (21)

278. Goldie Zarkowsky and her son, Eli Zarkowsky, were killed in the bombing of Bus l\lo. 2
in lerusalem, Israel on August 19, 2003. They were citizens of the United States and residents of the
State of New York. HAMAS took responsibility for the bombing. ’l`he HAl\/IAS terrorist who
committed the suicide bombing was Ra’ed Abed Al-Hamed. "fhis terror attack was within the scope of
the scheme and conspiracy described below in which Arab Bank was a knowing and active participant

279. Bshava Zarkowsky was injured in the bombing of Bus No. 2 in Jerusalem, lsrael on
August 19, 2003. She is a citizen of the United States and a resident of the State ofNew York.

280. Bshava Zarkowsky suffered grave injuries to herself

281. The injuries she suffered and the murder of her mother Goldie and brother Eli has
caused Bshava severe mental anguish, trauma, pain and suffering and extreme emotional distress, all to
her damage

282, Elizabeth and Max Schwartz are citizens of the United States and the State of New
York. They are the natural parents of Goldie and the grandparents of Eli.

283. Max Schwartz was in a business meeting with one of his sons lacob. lacob received an
urgent call but Ma;x thought nothing of the call until lacob returned with a look of despair on his face

Max inquired about the call but lacob would not talk about it.

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284. 'i`he scene around the house when l.\/lax and Jacob arrived horne was unexpected So
rmany of his friends and family members were there to break the news to l\/lax and his wife and to be
there for them in their time of need. 'l`hey flew to lsrael immediately to tend to the matter at hand.

285. A Holocaust survivor, i\/Iax had endured this kind of loss before and that helped him to
deal with this loss. Yet, nothing could compare to the pain, mental anguish, trauma and extreme
emotional distress of losing his daughter and grandson, all to his damage The shock and horror of the
loss of his loved ones is a feeling that he will never forget

286. Elizaheth Schwartz was tending to her usual errands at the time of the attack. She spent
her last hour of errands visiting with an elderly woman She rushed home in order to fix supper for her
husband As she approached her home, she noticed that there were several cars parked in front of her
house She knew then that something was wrong When she entered the house, her family members
and friends collectively delivered the news to her that her daughter was on a public bus in Jerusalein,
lsrael when it was bombed.

287. Elizabeth and her husband l\/lax immediately flew to Israel to see about their daughter.
That was where they found out that Goldie was also dead.

288. Aiso a Holocaust survivor, Elizabeth had endured this kind of loss before and that
helped her to deal with this loss Yet, nothing could compare to the pain of losing her daughter and
grandson 'l`he shock and horror of the loss of her loved ones, mental anguish, pain, suffering, trauma
and extreme emotional distress is a feeling that she will never forget, all to her damage

289. Mendel Zarkowsky is a citizen of the United States and the State of New Yorl{. lie is
the husband of Goldie and the father is Eli. Mendel Zarkowsl<y brings this action on behalf of himself

and Estate of Goldie Zarl<owsky and the Estate of Eli Zarkowsky.

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290. After a hot and humid day, Mendel was very tired and decided to relax by learning
Torah in a local study hall. Goldie traveled by bus with their daughter Bshava and their son Eli to the
Western Wall to pray the afternoon prayers. He spoke with his wife for the last time over the
telephone at around 6:3{) p.rn., shortly before she departed for the Westeni Wall with Bshava and Eli.

291. At about 9:10 p.m., Mendel was getting out of a taxi when he heard sirens. Ambulances,
police cars and fire engines were driving toward Shrnuel Hal\lavi Street in lerusalem, lsrael. At the
time, Mendel did not pay much attention to what was going on.

292. i\/Iendel arrived at his nephew’s apartment, where the family had been staying for his
nephew’s wedding. There were no adults around, only small children The telephone rang and
l\/lendel answered to the frantic voices of his brother-in-law and sister-in-law. "l`hey told him that there
had been a bombing on the bus that Goldie and the two children had been traveling on and that their
daughter happened to be on the bus as well

293. Mendel arrived at the hospital to find his daughter Bshava covered in blood, disoriented
and crying hysterically. No one had any information on the whereabouts of his wife and son.

294. After traveling from hospital to hospital in search of his missing wife and son, he was
informed that two bodies had been recovered that could possibly be them. After DNA testing, Mendel
was told that indeed the bodies were those of his dead wife and son.

295. l\/iendel’s life has changed dramatically lie is now the sole provider and caretaker for
the 7 children who remain in the home With doctors’ appointments, cooking, cleaning and all of the
other things that come with caring for the children, as well as trying to help them to cope with the loss
of their mother and brother, l\/lendel has no time for his fenner passions, like studying and tutoring

children

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296. As a result of the attacks, Mendel suffers severe mental anguish, pain, trauma, loss of
consortium and extreme emotionai distress, all to his damage He has spoken with many doctors,
experts and families who have experienced trauma but has yet to find out how to deal with his pain and
the pain of his children, who seem to think that the loss of their mother and brother is somehow his
fault

297. The impact of this tragedy is a constant burden on i\/Iendel. lie misses the serenity,
contentrnent and fulfillment of the union that he shared with Goldie. .

298. Mall<y Brener is a citizen of the United States and the State ot` New Yorl<. She is the
sister of Goldie and the aunt of Eli.

299. Malky was in her apartment when her niece called and told her about the attack in israel
and that Goldie was on the bus when it was bombed. Mall<y was so crushed that she could not move
She sat still, devastated for hours until her brother called to check on her and to tell her that her parents
were going to Israel to assist in the arrangements for her sister and nephew

300. Malky’s life has not been the same since. She misses the long talks she had with her
sister and her bright smile. The shock and horror of losing her loved ones has caused mental anguish,
trauma, pain and suffering and extreme emotional distress, all to her damage

301. Esther Buxbauin is a citizen of the United States and the State of New York. She is the
sister of Goldie and the aunt ot` Eli.

302. Esther was in the same hotel at which her sister Goidie had been staying when she
iearned of the attach She arrived in Israel on the same day as Goldie. They were about to celebrate
Esther’s son’s engagement When she tried to reach Goldie, she was told that Goldie had gone back to
the hotel. 'f`wo hours later, she tried to reach Goldie several more times to no avail. Esther began to get

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303. Suddenly, she heard sirens. She saw people holding radios and looking serious and she
began to inquire about what had happened She was informed that there was a bombing on the bus that
Goldie and her two children had been riding

304. instead of celebrating her son’s engagement, Esther spent the next week mourning her
Sister and nephew at the bedside of her niece, Bshava, who was the only one of her family members
who had Survived the attack.

305. Esther’s life is forever changed Even during her happy moments she fears that bad
things will happen because the loss of her loved ones occurred during a time of happiness for her own
son. The shock and horror of the loss of her loved ones has caused mental anguish, trauma, pain and
suffering and emotional distress, all to her damage Esther has had to seek counseling to cope with her
loss.

306. Gittel Cohen is a citizen of the United States and the State of New York. She is the
sister of Goldie and the aunt of Eli.

307. The murder of her sister Goldie and nephew Eli has caused Gittel severe mental
anguish, trauma, pain and suffering and extreme emotional distress, all to her damage

308. Rachel Rosner is a citizen of the United States and the State of New York. She is the
sister of Goldie and the aunt of Eli.

309. She was in New York at a shopping mall when a friend of hers in lsrael called to inform
her that Goldie was missing Her friend then told her that she had to go because there was commotion
outside and she wanted to see what was going on.

310. Rachei then went horne. When she was not greeted by her daughter’s welcoming
outstretched arms, she knew that something was wrong Her family emerged with faces of sorrow and

gave her the horrible news.

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31 l. Since the loss of her sister, Rachel has mourned continuously "l`he shock and horror of
losing her loved ones has caused mental anguish, traurna, pain and suffering and extreme emotional
distress, all to her damage

312. Jacob Schwartz is a citizen of the United States and the State of New York. lie is the
brother of Goldie and uncle of Eli.

3l3. lacob was in a business meeting with his father when he found out about the attack
Jacob received a call from his oldest son, Pinchas, who lives in lsrael, informing him of the bus
bombing in lsrael and that his sister and two of her children were on the bus. I-le concealed his
emotions because he did not want to unnecessarily alarm his father His father repeatedly asked iacob
who he was speaking with when he left the meeting numerous times to call Israel for updates, but
Jacob did not tell him because it looked as though Goldie and her children had perished in the attack
and he did not know how to tell his father

3l4. After the meeting was over, lacob and his father headed home. jacob then received a
call confirming his fears; Goldie was dead lie still did not tell his father. Fortunately, others arranged
for a friend of his father’s and a doctor to break the news to Jacoh’s parents so that he wouldn’t have to
do it. Soon after, Jacob’s parents boarded a plane to Israel to take care of the arrangements for their
daughter and grandson.

315. During and after the incident, their years of growing up together flashed before Jacob’s
eyes. lie specifically remembered the day Goldie was born. l~le was eight years old at the time.

3l6. Aiter the incident, Jacob was given medication by a local doctor and also sought
counseling and mental health treatment for his condition lie suffers from depression and has a
nervous condition as a result of the death of his loved ones. His business has suffered as a result of his

condition and it has also put a strain on his marriage 'I`he shock and horror of losing his loved ones

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has caused mental anguish, trauma, pain and suffering and extreme emotional distress, all to their
damage

3i7. Michael Schwartz is a citizen of the United States and the State of New York. lie is the
brother of Goldie and the uncle of Eii.

318. Michael was driving on a business errand for work when he found out about the attack
in Israel. Fortunately, he had reached his destination before his children called his cell phone to give
him the bad news.

3l9. Michael lost consciousness immediately after hearing the news. Bystanders revived
him and his son was called and was by his side within moments

320. Since his sister’s death, Michael experiences anxiety attacks, uncontrollable crying
episodes, nervous tension and many sleepless nights. He is unable to handle any stressful situations
The shock and horror of losing his loved ones has caused him mental anguish, traurna, pain and
suffering and extreme emotional distress, all to his damage

321. Phiilip Schwartz is a citizen of the United States and the State of New Yorl<. lie is the
brother of Goldie and the uncle of Eli.

322. Phiilip was driving in his car listening to his radio when the station gave a report of a
bus bombing in lerusalem. Instantly, Goldie came to his mind because she was in Israel. l-iis fear was
continued when he was informed by his brother Jacob that his sister and two of her children were on
the bus.

323. Phillip has not received any medical attention to ease the pain of his loss due to
financial constraints The shock and horror of losing his sister has caused mental anguish, trauma, pain

and suffering and extreme emotional distress, all to his damage

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324. Perl Brailofsky is a citizen of the United States and the State of New York. She is the
daughter of Goldie and the sister of Eli.

325. Perl was in Spring Valley, New Yorl< when the attacks occurred

326. She happened to call her mother where she was staying in lsraei to check up on her.
The daughter of another woman that lived there answered the telephone When Perl asked to speak
with her mother, the girl was silent After asking the little girl several times where her mother was to
no avail, the girl finally spoke up and said that there had been a bombing. Perl bombarded the child
with questions, but she had no answers

327. Perl has had to seek counseling to cope with the loss. 'l"he shock and horror of losing
her mother has caused mental anguish, pain and suffering and extreme emotional distress

328. Perl’s life changed instantly after the loss of her mother. She is very withdrawn and no
longer has the many friends that she once had. The burden of helping to care for siblings has fallen on
her.

329. The murder of her mother Goldie and brother Eli has caused Perl severe mental
anguish, trauma, pain and Suffering and extreme emotional distress, all to her damage

330. Abraham Zarkowsl<y is a citizen if the United States and the State of New York. He is
son of Goldie and the brother of Eli.

331. The shock and horror of losing his loved ones has caused him mental anguish, trauma,
pain and suffering and extreme emotional distress, alito his damage

332. Aron Zarl<owsl<y is a citizen if the United States and the State of l\lew Yorl<. lie is the
son of Goldie and the brother of Eli.

333. 'l`he shock and horror of losing his loved ones has caused him mental anguish, trauma,

pain and suffering and extreme emotional distress, all to his damage

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334. Ezriel Zarl<owsl<y is a citizen of the United States and the State of New York. lie is the
son of Goldie and the brother of Eli.

335. Ezriel was at home on his lunch break when the attack occurred

336. Ezriel called his aunt’s house and was informed about the tragic incident lie was given
pills by the El\/.[S crew that attended to him at the time he was notified about the attack.

337. After his mother’s death, Ezriel suffered intense phobias. lie suffers from nightmares
and wakes up in cold sweats. Whenever family members are not where they said they would be or do
not arrive when they said they would., he becomes hysterical and apprehensive Despite seeing
numerous psychologists, nothing has alleviated his phobias.

338. The shock and horror of losing his mother has caused him severe mental anguish,
tranma, pain and extreme emotional distress, all to his damage Ezriei has had to seek counseling to
cope with his loss.

339. Gittel Zarkowsi<y is a citizen of the United States and the State ofNew York. She is the
daughter of Goidie and the sister of Eli.

340. The shock and horror of losing her loved ones has caused her mental anguish, tranma,
pain and suffering and extreme emotional distress, all to her damage

34l. Joseph Zarkowsky is a citizen of the United States and the State of New York. lie is the
son of Goldie and the brother of Eli.

342. Joseph Was engrossed in his studies when he heard about the attacks in Israel.

343. Once Joseph heard about the attacks, he left the study hall where he had been studying
and went to his parents’ horne When he arrived, Joseph Was greeted by the sad faces of his family
members He then called his wife, informed her of the tragic incident and told her that he was flying to

Israel to be with his familyl

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344. After the incident, joseph was not the same. lie could not concentrate on his studies
and lost his study partner of four years as a result He has nightmares and is constantly distracted

345. Although he has not sought professional help to help him to cope, the shock and horror
of losing his mother and brother has caused severe mental anguish, trauma, pain and suffering and
extreme emotional distress, all to his damage

346. Miriarn Zarkowsky is a citizen of the United States and the State of New York. She is
the daughter of Goldie and the sister of Eli.

347. The shock and horror of losing her loved ones has caused her mental anguish, trauma,
pain and suffering and extreme emotional distress, all to her damage

348. Shrage Zarl<owsky is a citizen of the United States and the State of New Yorl<. I~le is the
eldest son of Goldie and the brother of Eli.

349. Sbrage was in New York substitute teaching at a summer camp when the attack
occurred

350. Shrage received an urgent call from his wife while teaching at a summer camp in New
Yorl<. She told him that there was a bus bombing in the center of lerusalem. lie immediately
shuddered, because, at the time, his mother, father and two siblings were in Israel. It was later
confirmed that his mother and siblings were on the bus.

351. He asked his wife if she had spoken with his parents and she informed him that no one
had heard from them. Finally, his sister was found alive, but he was left to pray that his mother and
brother would be located as weli. After several hours and no sign of his mother and brother, Shrage
grew frustrated After flying to Israel, Shrage and the rest of his family were informed that his mother

and brother were dead

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352. The death of Shrage’s mother left him a shattered and broken man. Every loud noise
now turns him into an emotional wrecit. 'l`he shock and horror of losing his mother and brother has
caused him severe mental anguish, trauma, pain and suffering and extreme emotional distress, all to his
damage

353. Trany Zaricowsky is a citizen of the United State and the State of New York. She is the
daughter of Goidie and the sister of Eii.

354. The murder of her mother and brother has caused Trany severe mental anguish, trauma,
pain and suffering and extreme emotionai distress, alito her damage

355. Yehuda Zarkowsky is a citizen of the United State and the State of New York. lie is the
son of Goldie and the brother of Eli.

356. The murder of his mother and brother has caused Yehuda severe mental anguish,
trauma, pain and suffering and extreme emotional distress, ail to his damage

The Tita Famil 22

357. On June ll, 2003, Bertin 'i`ita, age 75, was riding in Jerusalem, Israel on Egged Bus No.
idA. Bertin was a United States citizen who had lived for many years in the State of Texas. She and
her husband, Ephraim, had returned to Israel shortly before 2003.

358. At around 5:30 p.m. on June 11, 2003, a terrorist dressed as an ultra orthodox religious
}ewish person boarded Egged Bus No. I4A at one of the larger outdoor markets in ierusaiem. As the
bus drove through the heart of Jerusaiem, within the State of israel, the terrorist detonated his bonib,
wrecking the bus and killing Bertin "i`ita and 15 other passengers on the public bus. In addition to these
murders, the terrorist also injured over 100 peopie. HAMAS claimed responsibility for the attack,

which was carried out by Maanti Shavana aka Abed Al i\/lo’ti Mohammad Shabana. This terror attack

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was within the scope of the scheme and conspiracy described below in which Arab Bank was a
knowing and active participant

359. Bertin Tita was retired from the fashion business, but had been spending time in Israei
helping those in need. She was on her way to help a needy family when she was murdered by the
HAMAS terrorist Adding to the tragedy, Bertin’s daughter, Shoshana Tita, a journalist living in the
United States at the time, had come to visit her mother and father in israel to celebrate her upcoming
marriage Shoshana was married in Israel just forty~eight hours before her mother was murdered
Bertin and Ephraim’s son, Ezra, is also a United States citizen, like Bertin, Ephraim and his sister,
Shoshana. Ezra was educated in the United States and resides in the State of Texas.

360. Ephraim, Shoshana and Ezra have all suffered severe mental anguish, trauma, pain and
suffering and extreme emotional distress over the murder of their mother and wife, Bertin, all to their
damage and loss to the Estate of Bertin, a Plaintiff herein Instead of the family spending many days
together celebrating Shoshana’s wedding, they spent the period in deep mourning for the tragic and
brutal death of Bertin. As the heirs and survivors of Bertin, they bring this wrongful death action.
They also bring this action on behalf of the Estate of Bertin rFi'ta, and individually, for their damages
sustained as described herein

The Blaustein Farnily §23{

361. On l\/lay 29, 2001, Norman Blaustein and his wife, Sara Blaustein, both United States
nationals who had recently moved to Israel, were riding with others in their family car to Jerusalem.
At that tinie, they were attacked by Palestinian terrorists on the road near Efrat. The terrorists opened
tire on the car being driven by l\lorman. Bullets fired from the terrorists’ automatic weapons peppered

the Blaustein vehicle, causing serious injuries and death to the occupants This terror attack was within

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the scope of the scheme and conspiracy described below in which Arab Bank was a knowing and
active participant

362. Sara Blaustein was mortally wounded and died in her husband’s arms awaiting help.
Norman was wounded in the attacl<, and suffered severe mental anguish, traurna, pain and suffering
and extreme emotional distress from the attack and the wrongful death of his wife, Sara, all to his
damage

363. Samuel Berg, one of Sara Blaustein’s three children from her first marriage was visiting
Sara and Norrnan from New York. lie was in the automobile with them and was wounded in the terror
attack as well. Samuei was shot in the back and shoulder but remained conscious and saw his mother
die from her wounds Sarnuei is a United States citizen. In addition to suffering his own physical
injuries which required hospitalization and physical therapy, Sarnuei suffered severe mental anguile
trauma, pain and suffering and extreme emotional distress all to his damage, as a resuit of being
present during his mother’s murder by the terrorist murderers

364. Norman lives in Israel and Sarnuei Berg resides in Nassau County, New Yorir. Adena
l\/iark, §onathan Berg and Atara Blaustein are the children of Sara Biaustein. They are the heirs and
survivors of Sara and are all US nationals Rebecca Unterberg, a US national, is the mother of Sara
and the heir and survivor of Sara. David Unterberg and Tema Furmansky are the brother and sister of
Sara and are her heirs and survivors David and Tema are both US nationals Each asserts their claims
herein

365. The terrorists who committed this murder and assault were leaders or member ot` the
Fatah-Tanzim terrorist organization in Bethlehem. They included, but are not limited to, Atet` Ahmad

Salem ‘Abayat. The murder and assault took place within the scope of the conspiracy and activities of

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Det`endant Arab Bank, PLC, as did each of the actions set forth in this complaint on behaif of each of
the Plaintiffs named herein

Bernard Remez 1241

366. Bernard Carl Remez was injured in a terror attack on September 25, 2002 when he was
shot in a drive by shooting by Palestinian terrorists while in Israel. Bernard was returning to his horne
in Ateret, lsrael with his nephew when automatic rifle tire from Palestinian terrorists peppered his
vehicle, wounding him and his nephew. This terror attack was within the scope of the scheme and
conspiracy described below in which Arab Bank was a knowing and active participant

367. As a result of the attack, Bernard suffered major medical damage to his left arm and was
hospitalized for treatment numerous times He continues to suffer a permanent disability from this
injury Bernard is a citizen of the United States who resides in israel, and sues for his pain, suffering,
trauma, mental anguish, extreme emotional distress, all to his damage

Andrew Feibusch §25!

368. Andrew Feihusch is a United States citizen who was studying in lsraei when the Intifada
began in the Fall of 2000. After being attacked and injured by Paiestinian terrorists twice, Andrew has
returned to live in the United States

369. Andrew was first attacked on Septernber 29, 2000, when he was l9 years oid. He was
beaten, along with other American students when they were dragged from a cab in Jerusalem, israel.
Photographs of the attack were published around the world Andrew and his friends were going to the
Western Wall in lerusalem to pray. Palestinian terrorists brutain attacked these young men and
attempted to lkill them. Andrew was treated for his physical injuries at Hadassah Hospitai in

Jerusalem. He required stitches to close lacerations caused by the terror attack

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370. A second terrorist attack injured Andrew on August 18, 2003, when he was shot in the
leg by a Palestinian terrorist while he was riding on a bus in Jerusalem. lie was hospitalized for
several days at a Jerusalern hospital as a result of this terror attack. I-ie sues for his pain, suffering,
trauina, mental anguish and extreme emotional distress, all to his damage The terror attacks in which
Andrew was injured were within the scope of the scheme and conspiracy alleged below in which Arab
Bank knowingly participated

Nethaniel Biuth g26!

371. `Nethaniel Bluth is a citizen of the United States who for some time has resided in lsrael
with his parents, Ephrairn and Shoshana. On March 7, 2002, Nethaniel was a 19 year old student at
Otzem, which is located in the community of Atzrnona, israel. Nethaniel began his studies there in
August, 2001.

372. On March 7, 2002, while Nethauiel was studying with about 80 other students in a
lesson being led by one of the Rabbis, a small explosion occurred Nethaniei and the other students
rushed to the window to see what happened A Paiestinian terrorist who was in the midst of attacking
the students had thrown a grenade into one of the dorrn rooms. lt was late at night, around ll:00 p.m.,
and the students looked in honor as the terrorist opened tire on the students with a burst from an
automatic weapon. "l`he attacker threw additional grenades in an attempt to kili and injure as many of
the students as possible Nethaniel was struck by shrapnel when a grenade exploded only a few feet
from him. His arms, legs and scalp were injured One piece of shrapnel pierced his chest and hit his
chest bone. He sues for his pain, suffering trauma, mental anguish and extreme emotional distress, all
to his damage HAMAS claimed responsibility for the attack, which was committed by Mohammed
Fathi Farahat aka Moharnrned Nadal Farhath. 'I`his terror attack was within the scope of the scheme

and conspiracy described below in which Arab Bank was a knowing and active participant

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373. Nethaniel was rushed to Tel I~IaShomer Hospital for surgery to save his life. Five of his
classmates were murdered in the attack Nethaniel underwent three surgical procedures following the
attack His chest wound was closed, a gash in his scalp was surgically treated and the various wounds
to his arms were stitched. Nethaniel has scars from these injuries After rehabilitation, Nethaniel
regained most of the use of his hands, arms and legs. He also suffered severe damage to both of his ear
drums when the grenade exploded close to him. His hearing is permanently impaired in his left ear.

Averham Grossrnan (27)

 

374. On December l, 2001, at approximately ll:30 p.m., Averham Grossman was in the Ben
Yehuda pedestrian mall in Jerusalem, israel when two suicide bombers detonated explosive devices
'l`he pedestrian mall was filled with many young people on a Saturday night A car bomb also
exploded about 20 minutes after the initial attack, killing and injuring more people HAl\/.[AS claimed
responsibility for the attack, which was carried out by Nabil llalabia, aka i\/lahrnoud l\labeel Halabey,
and Osama Mohammcd Id Bahr. This terror attack was within the scope of the scheme and conspiracy
described below in which Arab Bank was a knowing and active participant

375. As a result of the attack, Averham Grossman was traumatized and suffered severe
mental anguish and pain and suffering, all to his damage He injured his back and was struck by the
second bomb while helping those wounded from the first bomb.

376. Averham Grossman is a United States citizen

Michael Spitz 1291

377. On September 22, 2004, Michael Spitz was injured in a Palestinian terrorist attack near
the French Hill section of lerusalem, israel when a female terrorist blew herself up, killing 2 border
patrol policemen and wounding 17 people waiting at a bus Stop nearby. Michael’s ears were damaged

from the blast and he continues to suffer pain, trauma, mental anguish, extreme emotional distress,

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both emotionally and psychologically from the attack, all to his damage Al Aqsa Martyrs Brigade
claimed responsibility for the terror attack, which was committed by Zaynab Ali Abu Salem. Michael
Spitz is a citizen of the United States. This terror attack was within the scope of the scheme and
conspiracy described below in which Arab Bank was a knowing and active participant

Meshulam Ben Meir 1321

378. l\/leshulam Ben Meir is a United States citizen who lives in Ofra, lsrael. On luly 30,
2002, he was attacked by a Palestinian suicide bomber who detonated a bomb about five meters away
from Meir. l\/leir was seriously injured lie lost all hearing in his left ear and suffered some loss of
hearing in his right ear. lie has suffered pain, trauma, mental anguish, extreme emotional distress,
medical expenses and losses, all to his damage The terrorist who exploded the bomb was Muhssien
Attah. This terror attack was within the scope of the scheme and conspiracy described below in which
Arab Bank was a knowing and active participant

Elitzur Lilintal §33[

379. Elitzur Lilintal, a US national, was attacked by Palestinian terrorists on .luIy 25, 2002
while he was riding in a car in Israel with Rabbi Elirnelech Shapira, 43, of Peduel. The shooting attack
by the Palestinian terrorist killed Rabbi Shapira and seriously injured Elitzur Lilintal. The shooting
attack occurred near the community of Alei Zahav, west of Ariel. 'l`he Fatah Al-Aqsa Brigade claimed
responsibility for the terror attack. He has suffered pain, trauma, mental anguish, extreme emotional
distress, incurred medical expenses and losses, all to his damage This terror attack was within the
scope of the scheme and conspiracy described below in which Arab Bank was a knowing and active

participant

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The Rand Farnil 34

380. On August 3l, 2002, Jacob Rand and his wife, Dalit Rand, both of whom are United
States citizens, were walking hand in hand from the synagogue located in the West Bank community
of Har Bracha near Nablus in the State of israel A Palestinian terrorist from the Popular Front for the
Liberation of Palest'me (“PFLP”), a designated Foreign 'l`errorist Organization, opened fire at the
young couple as they walked along a path. 'l`he gunman shot round after round at the couple as they
ran for their livcs. Dalit, who was pregnant at the time, was shot six times Her husband, lacob, was
shot twice. Both required emergency hospitalization to treat their wounds. Dalit suffered gunshot
wounds to the chest, shoulder and hip. Jacob Rand, in an effort to save his pregnant wife and unborn
child, fell over Dalit to shelter her from the terrorist’s bullets While doing so, Jacob was shot in the
upper back and hip. He was air»lifted to a hospital.

381. The terrorist attack was committed by Yusef Atalla, age 20, from the Balata Refugee
Camp near Nablus. Atalla used wire cutters to break into the community and then hid in wait for
victims The PFLP claimed responsibility for the attack on Lebanon’s Al-Manar television channel
Al-Manar, which is affiliated with the Hezbollah terrorist group, was itself designated as a terrorist
organization by the United States in December 2004 The PFLP was in fact responsible for the terror
attack, which was intended to kill, maim, and injure as many men, women and children as possible
Atalla was shot and killed by a resident of Har Bracha, thereby stopping the attack and saving the lives
of Jacob and Dalit Rand and potentially many others as well

382. Dalit Rand grew up in New Rochelle, New York as Dalit Comet-Mnrciano. Dalit is the
daughter of Dr. Robert Comet»Murciano, a respected pediatrician who practiced in the Bronx for many
years. Dalit graduated from a high school in l\/lanhattan and moved with her family to live in israel in

1997. Daiit is now attending medical school and is known as Dalit Cayam.

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383. Jacob Rand also was born and raised in New York. He moved to lsrael and was
attending law school at the time of the terrorist attack I-ie is known as Yakov Cayarn. He and Dalit
had been married only l4 months at the time of the terrorist attach

384. Jacob and Dalit have suffered serious personal injuries, including emotional distress and
pain and suffering as a result of the terror attack described herein 'l`hey join as Plaintiffs in this action.

The Leifer Famil 35

385. loseph Leifer and Devorah Chechanow Leifer, both U.S. nationals who reside in
Brooklyn, New York, were visiting lsraei in December 2001 when they were injured in a terror attack
that took place on the Ben Yehuda pedestrian mall in downtown Jerusalern.

386. On Decernber l, 2001, the pedestrian mall was filled with many young people on a
Saturday night At about li:30 p.m., two suicide bombers detonated explosive devices among the
crowd on the mall. A car bomb also exploded about 20 minutes after the initial attack, killing and
injuring more people. HAl\/[AS claimed responsibility for the attacl<, which was carried out by Nabil
Halabia and Osama Mohannned id Bahr. HAMAS was in fact responsible for this terror attack.

387. As a result of the attack, Joseph suffered serious life threatening wounds Devorah
Chechanow Leifer, who was present with Joseph, suffered less serious personal injuries l?>oth Joseph
Leifer and Devorah Chechanow Leifer suffered severe mental anguish and pain and suffering and join
as Plaintit`fs in this action

The Waxler Familv (36)

388. Obadiah Waxler, a U.S. national who resides in Brooklyn, New York, was visiting
Israel in Deceznber 2001 when he was critically injured in a terror attack that took place on the Ben
Yeiruda pedestrian mall in downtown Jerusalern. lie joins as a Plaintit`f to this action to recover for the

injuries lie suffered in this terror attack.

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389. On Decernber l, 2001, the pedestrian mall was filled with many young people on a
Saturday night At about ll:30 p.in., two suicide bombers_detonated explosive devices among the
crowd on the mall. A car bomb also exploded about 20 minutes after the initial attack, killing and
injuring more people HAMAS claimed responsibility for the attack, which was carried out by Nabil
Halabia and Osarna Mohammed Id Bahr. HAMAS was in fact responsible for this terror attack

390. As a result of the attack, Obadiah Waxler suffered serious personal injuries, mental
anguish and pain and suffering Nurnerous surgeries were necessary to save Obadiah’s life and he
required almost three years rehabilitating from the life-threatening injuries During this time, Obadiah
was unable to work. While he was hospitalized in Israel before his transfer to New York, Obadiah’s
brother, Ezekial Waxler, who lived in lsrael, ceased work to care for his seriously injured brother.

391. At the time of the terror attack, Obadiah Waxler was engaged to be married He was
married on June 10, 2002. His wife, Chana Waxler, cared extensively for Obadiah for several years as
he recovered from his serious wounds 'l`his necessitated that she take off from work She was only
able to work part time so she could care for her husband

392. Obadiah’s family in l\lew York also took turns giving him care and support for several
years These family members of Obadiah join as Plaintiffs in this action to recover their loss of
consortium and solariurn and loss of earnings as a result of the injuries suffered by Obadiah Waxler.
They also seek just compensation for their own mental anguish they suffered as proximate cause of the
terror attack on Obadiah. These plaintiffs are Obadiah Waxler’s parents, Arthur Waxler and Dina
Waxler; his wife, Chana Waxler; and brothers and sisters, Ezekial Waxlcr, Abraham Waxler, Haggi
Waxler, Nachuin Waxler, Yoel Waxler, Zacharia Waxler, Gedalia Waxler, Baruch Waxler, Yaakov

Waxler, Chaya Rosenberg, Bracha l\/lilstein, and Shifra l\/liller. All of these plaintiffs are citizens of the

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United States of Arnerica. All of them currently reside in Brooklyn, New York, except for Ezekial
Waxler, who currently resides in lsrael.
B. 'i`he I)ei`endarit Arab Bank

393. Arab Bank, PLC is a Jordanian bank with headquarters in Annnan, lordan, the common
stock of which is publicly traded on the Arnrnan Stock Exchange. Arab Banl< is majority owned and
controlled by the shareholders of Arab Bank Group, a Jordanian holding company Arah Banl<; and
Arab Bank Group constitute a single lordanian banking institution Arab Bank owns, controls and/or
operates bank branches worldwide, including several branches that are situated in Palestinian
Authority controlled territories and a wholly owned branch office located at 520 Madison Avenue,
New York, New Yorl<, that is regulated by the Controller of the Currency of the United States Treasury
Departn‘ient. Arab Bank conducts business in, and is registered to conduct business under, the laws of
the State of New Yorl<.. 'I`he Bank does business in the United States and approximately 30 other
countries on five continents and has over 7,000 employees Arab Bank’s affiliate, Arab National Bank
(“ANB”), has over l00 branches in Saudi Arabia. Arab Bank is a 40% shareholder of ANB.

394. Arab Banl<. has operated a branch in New York since 1982. The New Yorl< branch was
designated as a wholesale bank, and among the banking and financial services that it conducted in New
York were the provision of clearing and correspondent bank services for its foreign bank branch
offices and affiliated banking institutions as well as other foreign banks rl`he New York branch has
approximately 50 employees working in or for the New Yorl< City operation According to the Arab
Bank Group’s 2003 Annual Report, the New York Branch of Arab Bank clears all of the worldwide
branches’ dollar transactions in l\lew York, l\lew York, which includes the many transactions described

below.

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395. On or about February 25, 2005, the U.S. Office of the Comptroller of the Cutrency
(“OCC”) announced drastic restrictions on Arab Bank’s New York operations The OCC determined
that the branch “had internal control weaknesses particularly with regard to its international funds
transfer activities.” ’l`he OCC also found that “the inadequacy of the Branch’s controls over its funds
transfer business is especially serious in light of the high risk characteristics of many of the
transactions.” www.occ.treas.gov/ftp/eas/ea2005-l4.pdf. During an investigative audit by the OCC of
Arab Bank in late 2004 and early 2005, U.S. officials discovered, among other things, that Arab Bank
had as customers 40-60 supported terrorists and terrorist groups with alleged connections to Al Qaeda,
HAMAS, and Hezbollah. The investigative audit also revealed that Arab Bank knowingly allowed
such groups to transfer money through Arab Banl<’s New York branch at 520 Madison Avenue in New
York CiW, in violation of the laws of the United States ln August, 2005, Arab Bank was forced to pay
a $24 million fine to the United States for its failure to comply with ()CC regulations

396. The Shornan Family founded the bank in lerusalern in 1930 and have played key roles
in the management of the Bank ever since. Until his recent death in 2005, Abdul l\/laj eed A.H. Shonian
was the Chairrnan of Arab Bank and Arab Bank Group. His son, Abdel Harnid A.M. Shoman, was
Deputy Chairman and Chiet` Executive Ofticer of Arab Banl< and Arab Bank Group until his father’s
death. He assumed his father’s job titles shortly after his father’s death.

397. The Banl<’s current Chief Banking Officer is Shukry Bishara, who was responsible for
the opening of the Bank’s offices in New Yorl< in 1982 and who then moved to Ramallah in
approximately 1994 to oversee the Bank’s operations in the West Bank and Gaza. He was promoted to
Chief Banking Ofticer and moved to Amrnan, Jordan only in February 2002.

398. Arab Bank has consolidated assets of approximately US$BZ billion Arab Banl< has

approximately 22 branches operating in Gaza and the West Bank, the first of which was opened in late

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1994 in Nablus. Since 1996, when the Israeli Central Banking Authority’s supervisory role over Arab
Banl<’s conduct in Gaaa and the West Banl< ended, the Palestinian l\/lonetary Authority has had the
duty to regulate the bank’s branches in the Palestinian territories which are primarily under the control
of the Palestinian Authority or “PA.”

FACTUAL ALLEGATIONS

399. Several prominent terrorist organizations operate in Palestinian-controlled territory,
most notably the islamic Resistance Movement (“HAMAS”), the Palestinian lslamic Jihad (the “Pl.l”),
and the Al Aqsa l\/lartyrs Brigade (“AAMB” , the armed wing of Fatah. 'l`he Popular Resistance
Corrnnittee is a small alliance of various armed terrorists primarily active during the Second Intifada in
Gaza. lt consists mainly of terrorists belonging to the Fatah organization and dissident members of the
PA security forces lt has been led by At)u Sainhadaneh. Other terrorist groups also conducted terror
attacks during the Second lntifada. Several terror attacks were committed as “joint operations” and
involved terrorists from more than one ol` these groups

400. PIJ and l~lAl\/IAS are both primarily radical Islarnist terrorist organizations that are
committed to the globalization of lslam through violent “Jihad” or holy war.

401. 'l`hese groups are formally committed to the destruction of the State of lsrael, are
extremely anti-Arnerican and are committed to achieving their objectives by violent means, including
acts of international terrorism. HAMAS is an acronyrn for “Harakat Muqawarna lslamiyya,” the
islamic Resistance l\/.[overnent, which was founded in Decernber 1987.

402. The HAl\/IAS Charter states that the very purpose of HAl\/IAS is to create an islamic
Palestinian state throughout lsrael by eliminating the State of lsrael through violent jihad. HAl\/IAS
propaganda since the Septernber llth World l`rade Center attacks have praised and gloritied Osarna

bin Laden and his supporters engaged in global jihad. HAMAS, directly and through its network of

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“charitable” front organizations has engaged in a campaign ot` hate and virulent anti»Semitism
designed to indoctrinate the Palestinian population, including young kindergarten children, to hate
Jews and to incite violence against them.

403. HAMAS is the largest of these terror groups and is nominally divided into two separate
wings, the political wing which supports the so-called “Dawa” (its social service or humanitarian
component) and the paramilitary wing known as the lZz-el-Din al Qassam Brigade. Although these
two components have separate responsibilities the organization operates seamlessly, with each
component working to conduct the operations and to achieve the illegal objectives ot` the terrorist
group as a whole

404. HAMAS’ social services are, in large part, administered by local “zakat” committees
and other “charitable organizations” (“Zakat” means charity in Arabic). These committees and
organizations are controlled by HAMAS members operatives and activists sitting as members ot` their
governing committees a fact well known to Arab Bank.

405. Due to the substantial expenditures of the HAMAS organization and the fungible nature
of money, significant sums of money collected externally under charitable and humanitarian banners
are routed for HAMAS’ military and other operational uses, in addition to being used to free up other
funds for specific terrorists’ acts HAMAS uses such funds for, among other things the provision of
weapons explosives transportation services, safehouses, and salaries for its terrorist operatives and for
terrorist recruiters Thus, donations to HAMAS charitable organizations increased the ability of
HAMAS to engage in acts of terrorism.

406. HAMAS commits numerous acts of international terrorism and other related criminal

activity, including murder, attempted murder, solicitation to commit murder and numerous other acts

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of international terrorism activities, as defined by 38 U.S.C. § 1331, in vioiation of the federal criminal
code of the United States.

407. Since Septernber 2000, HAMAS has launched hundreds of terror attacks that killed and
injured hundreds of individuals, including over twenty (20) mass murders that have killed more than
three hundred (300) people, including numerous Arnerican nationals HAMAS has ciaimed
responsibility for the attacks on Plaintii`fs David and Naava Applebaum, lack Baxter, Chaya Tziporah
Cohen, Netanei Fenichel, Ariela Freirrnark, i\/loshe Gottlieb, Debra and Eli Horovitz, Abigail Litle,
John binde, §r., Forul< Nairni, Rebecca Nevies, Rivka Parn, l\/iiriarn Leah Richter, Mordechai and
Yissocher Dov Reinitz, Tii`eret Tratner, Erik Schecter, Goidie and Eli Zarkowsi<y, Joseph and Devorah
Leifer and others Other terrorist organizations identified in this complaint have claimed responsibility
for other terrorist murders and attacks upon innocent civilians who are Plaintiffs herein

408. On Ianuary 25, 1995, HAMAS was designated as a Specialiy Designated Terrorist and,
on OCtober 8, 1997, by publication in the Federal Register, the United States Secretary of State
designated HAl\/IAS as a Foreign Terrorist Organization pursuant to Section 219 of the lmrnigration
and Nationality Act (the “iNA”) and the AEDPA. HAMAS is also designated as a Specialiy
Designated Giobal Terrorist Organization.

409. 'i`he format designation has been renewed every two years since 1997, including a
renewal in October 2005.

410. Like HAMAS, PIJ is a radical Islamic terror group. 'i`he PI.T knowingly, willfuily, and
unlawfully commits numerous acts of international terrorism and other reiated criminal activity,
including murder, attempted murder, and solicitation to commit murder in violation of the federal

criminal code oi` the United States.

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411. The PI.l has committed numerous terrorist attacks, including several that have killed and
injured American citizens Since September 2000, the Pi] has conducted and taken credit for at least
28 murderous attacks, including at least seven mass murder bombings that have killed over 90
civilians, including U.S. nationals

412. On October 8, i997, the PlJ was designated as a Foreign Terrorist Organization by the
U.S. government under the AEDPA. 'i`he designation has since been renewed every two years,
including in 2005.

413. AAMB is a paramilitary offshoot, or armed wing, of the governing Fatah movement
which emerged at the outset ot` the Second Intifada. Force 17 and 'i`anzim are also paramiiitary
offshoots of ‘riatah that have committed acts of terrorism since at least early 2001.

414. AAMB’s, Tanzim’s and Force i7’s political lineage is secular and not Islamist in
orientation, but they have adopted both the religious rhetoric and murderous acts of their radical
Islarnist counterparts

415. AAMB, 'l`anzim and Force 17 (with support, direction and aid from Fatah) knowingly,
willfully, and unlawfully commit numerous acts of international terrorism and other related criminal
activity, including murder, attempted murder, and solicitation to commit murder in violation of the
federal criminal code of the United States.

416. For example, these organizations have committed numerous terrorist attacks, including
several that have killed and injured Arnerican citizens Since September 2000, AAMB has conducted
and taken credit for dozens of murderous attacks, including a pair of January 2003 suicide bombings in
downtown Tel Aviv that killed 23 people and injured approximately a hundred others, and a string of
other attacks that have killed more than 70 civilians and wounded more than five hundred (5 00) others,

including U.S. citizens AAl\/IB has claimed responsibility for the attack that i<ilied Esther Kiieman

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and injured Rebecca Nevies, Netanel and lianit Fenichel, Erik Schecter, l\/lichael Spitz, and Elitzur
Lilintal and others

417. On March 2l, 2002, the Secretary of State of the United States officially designated
AAMB as a Foreign Terrorist Organization pursuant to Section 219 of the INA and the AEDPA. The
Government of israel as Well as other countries have designated many of these organizations as terror
organizations in addition to the United States
_'I__l_ie Al Agsa Intifada or Intifada Ai Ouc_l__s_

418. Following the collapse oi` the peace negotiations at the presidential retreat at Carnp
David in the summer ot` 2000, HAMAS and other Palestinian terror organizations launched a broad-
based terror campaign against the State of lsrael, marked from the outset by numerous acts ot` extreme
violence, including multiple murders of civilians

419. This explosion of violence Was vvidely termed the so~called Al Aqsa intifada or lntifada
Al Quds or, in Western parlance, the Second Intit`ada (to distinguish it from an earlier period of
violence in the l980s). Whereas the total number of attacks from 1993-2000 totaled less than 1,000,
since September 2000 various Palestinian terrorists attempted approximately 23,000 attacks These
attacks have claimed more than 8,000 casualties including about 900 civilian deaths “l`hese
indiscriminate acts of violence have likewise resulted in the deaths of at least 30 U.S. citizens and
caused serious bodily injury to scores of others

420 The preferred, although not exclusive, method of mass murder used by Paiestinian
terrorist groups is the suicide bombing, Which involves an individual carrying an explosive device,
which he or she detonates in a bus, restaurant or other crowded public gathering place

421 The device is typically packed With nails, bolts and bail bearings vvhich, vvhen

detonated, lodge themselves deep within the bodies of those unfortunate individuals Who happen to be

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inside the blast radius, causing cruel and horrific injuries The suicide bomber is thereby regarded as a
“martyr” (or “Shahid” in Ai“abic) by the terrorist groups and their sympathizers

422. The objectives of the Al Aqsa lntifada terror campaign include intimidating and
coercing the civilian population of Israei and attempting to influence the policy of the Israeli and U.S.
governments by compelling Israel to withdraw from territory it presently controls

423. The eruption of the Al Aqsa lntifada in late Septernber 2000 changed the dynamics of
Palestinian terrorism in four material respects

A. The Second Intifada, from its inception, was marked by a massive escalation of
violence, which quickly transformed the tactics of the lslaniist terrorist groups from the
margins to the mainstream of Palestinian politics

B. "i`he unrestrained violence cf the Second Intifada and the increasing credibility and
prestige it provided for the lslarnist groups forced other (secular) Palestinian terrorist
groups to adopt lslarnist rhetoric and tactics

C. The main rival terrorist groups began cooperating and coordinating their activities
including but not limited to HAMAS, PIJ, Fatah ('l`anzim/AAMB/Force 17), PFLP and
The Popular Resistance Cornrnittees.

D. Saudi financial support for the terrorist groups coalesced into a more ambitious and
more formal structure through the formation of the Saudi Cornmittee in Support of the
lntifada Al Quds, which not only raised money to support the lntifada, but which caused
said monies to be transferred into the hands of terrorists in the Palestinian territories
through such banking institutions as the Arab Bank, for delivery to terrorists and their
families as incentives and rewards for the murder and mairning of Israeli citizens
visitors workers students and others

Arab Bank’s Conspiracv To Finance Palestinian Terrorism

424. in the fall of 2000, Arab Bank knowingly joined a conspiracy and scheme to aid and
support the terrorism of the Second Intifada. lt was known by the terror organizations and those that
conspired with and aided them that a wave of violent terror attacks would be launched and would span

many months or even years The scheme therefore included a system to finance and encourage the

violence for a sustained period of time. The terror attacks that killed and injured the plaintiffs in 2001~

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2004 were overt acts in furtherance of that conspiracy and were within the scope of the scheme
described herein

425. One reason for Arab Bank’s willful support of the unlawful scheme was the ideology of
the Bank’s founders In 1984, the Shoman family published a biography of l\/lr. Abdulhameed Shoman
(the bank’s founder) entitled The Indomitable /irab in which he consistently Set forth his antipathy
towards lews, Zionists and the State of Israel. He also clearly describes his abhorrence for the United
States, which he claimed to have once admired, but then loathed because of its support for lsrael.

426. Prior to the establishment of Arab Bank, its founder, Abdulbameed Shoinan, described
his great anger toward Zionists, J'ews, and others whom he believed stood in the way of the growth of
the Arab economy fn his biography, he is quoted as saying that within a few years Zionism will have
grown strong enough to control the entire economy. “I believe that all business dealings with the Jews
m buying, selling or banking transactions -- are damaging to our country’s best interests.”

427. In his final speech before four hundred employees of Arab Bank, l\/Ir. Shoman also
explained his hatred for Arnericans that had developed over the years:

l liked the Arnericans. l once bore their nationality, and gathered my fortune in their
country But since they started to help the Zionists and supply them with arms to
tight us, l have come to detest them lt was not the Jews, but the Americans, who
fought us.

428. i\/lr. Shoman’s son, Abdul Majeed Shoman, the recently deceased chairman of the Arab
Bank, was a vocal supporter of the lntifada who often made public remarks demonstrating his
extreinist anti»lsraeli views

429. lie was, for example, the chairman of the Popular Committee in Support of the
Palestinian intifada, which was established during the first Intifada in 1987-1988. The Corrnnittee

managed to raise approximately eight million lordanian Dinar (.lOD 8,000,000) or approximately

$i 1,000,000, for “martyrs’ families,” paying 1,000 JOD ($1,400) to each martyr’s family and 300 JOD

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($425) to each Palestinian injured in the violence Frorn 1995 to 2000, the Popular Conirnittee raised
an additional 1,200,000 JOD for the families of martyrs of the first Intifada.

430. On Novernber 22, 2000, Arah businessmen held a meeting with Yasser Arafat, at which
time they formed a new entity, the Fund for Support of the Persistence of the Palestinian People, to
further bankroll the Palestinian Authority and the Intifada.

431. Defendant Arab Bank pledged $2,000,000.00. Mr. Shoinan pledged $50{),000.00,
personally

432. 'l`he Shoman famiiy’s support of the terrorist intifada continued in June of 2001 When
the Cultural Center of the A‘odul Harnid Shoman lnstitute launched an exhibition on the subject of “the
martyrs of the Palestinian Intifada.” The express purpose of the exhibit Was to “honor the martyrs of
the blessed ai-Aqsa intifada” by means of conveying the human and spirited image ot` their lives The
exhibit featured presentations of the martyrs’ personal belongings such as clothing and “tools” they
used, along With an introduction to their lives and deeds until the day of their ‘martyrdorn’.

433. Accordingly, the Banl<’s financial and ideological support for the terrorist lntifada is a
matter of public record and its participation in diligently implementing the universal terrorist death and
dismemberment insurance scheme is knowing and deliberate By its acts, Defendant Arab Bank
knowingly, Willingly and substantially assists in the recruitment of terrorists
The Formation of the Saudi Committee for the Supnort of the Intifada

434. A meeting of the Arab League Was held in Cairo, Egypt in October of 2000. At that
ineeting, it Was agreed, With the knowledge and participation of Defendant Arab Bank and Bank
Chairrnan Abdul l\/iaj eed Shornan, that a financing distribution network or mechanism needed to be put
in place to third and fuel Palestinian terrorism to achieve various poiiticai and nationalistic goals lt

Was beiieved that millions and millions of dollars Would be necessary to support the Wave of terrorism

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Which Was planned to last months or even years The plan included making substantial payments to
those engaged in the violent intifada: “the martyrs, the Wounded and the prisoners.”

435. On or about October 16, 2000, the Saudi Cominittee in Support of the Intifada Al Quds
(hereinar`ter referred to as the “Saudi Committee”) Was established as a private charity registered With
the Kingdom of Saudi Arabia in furtherance of this plan.

436. According to the Saudi Committee, its purpose Was to support the “lntifada Al Quds”
and “all suffering families - the families of the martyrs and the injured Palestinians and the disabled.”
The suicide bomber is regarded by HAMAS and the other terror groups the Saudi Committee and
even by the Palestinian Authority (PA) as a “martyr” or “shahid” in Arabic.

437. The Saudi Committee decided to bestow financial support to the martyrs’ families and
to call upon the Jordanian government to make the donations tax~exernpt. Abdul Majeed Shoman,
then the Chairrnan of the Arab Banl<, opened a meeting to support the Intifada by saying:

After the blessed lntifada [erupted] l thought that We should discuss what to do about it.

"l`here are some organizations Which are fundraising donations including the Welfare

Association [headed by l\/lr. Shoman]. The Welfare Association received donations

and it has funds l received phone calls and donations from benevolent people and the

Arab Bank’s board and the bank’s employees decided to donate 5% from October’s

salaries {for the Intifada]. in spite of the fact that donations were collected and are

available, nothing Was transferred to anybody lt is our duty to act and therefore l

summoned this meeting to hear from you.

438. Monies collected but not transferred Wouid undermine fundraising efforts for the
Second lntifada, Which Would threaten the ability of HAMAS, Pl.l, AAMB, Fatah and other factions to
launch terrorist attacks The Arab Banl<, With its professional expertise, experience and institutional
efficiency, stepped into this breach

439. l\/lr. Shoman objected to locating the committee’s office in Arab Bank’S Arnman

headquarters building but he left open the possibility of “loaning” an accountant to the committee

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440. Ultimately, it was decided that the committee’s office would be located in the Amnian
Chainber of Industry headquarters where it in fact opened on l\lovember l, 2000.

441. As referenced by l\/Ir. Shoman in his speech, on or about October 7, 2000, Arab Bank
announced that it would make financial donations to Palestinians injured during the Intifada. At the
urging of the Arab Bank, its employees donated 5% of their monthly salaries to the Palestinian cause.
All of this activity was conducted publicly in Jordan.

442. rl`he Saudi Cornrnittee constitutes a professional fundraising apparatus intended to
subsidize and finance the Intifada Al Quds, i.e., to subsidize the Palestinian terror campaign and to
bankroll HAMAS and other terrorist organizations and their related charitable front organizations in
the West Bank and Gaza. Those facts were known to Defendant Arab Bank, which knowingly and
willfully joined with the Saudi Cornmittee to fulfill this goal. 'l`he activities of the Saudi Committee
Were often publicized, even by the Saudi Embassy in Washington, DC. Arab Bank was intimately
aware of and involved with the activities of the Saudi Comrnittee. The Saudi Minister of Finance and
other high ranking member of the Saudi government have acted as spokespersons for the Comrnittee.
rl`he Saudi l\/linister of Finance sits on the board of director of Arab Bank. Arab Bank’s affiliate, ANB,
is one of the largest banks in Saudi Arabia and it played a substantial role in collecting funds for the
Saudi Comrnittee, and in transferring those monies within the Arab Bank system to the various terrorist
organizations terrorists, prisoners and their families Abdel Hamid Shoman sits on the boards of
ANB, as did Abdel l\/lajeed Shoman prior to his death.

443. The ability of the Saudi Cormnittee to fuliill its goal of bankrolling HAMAS and other
Palestinian terror organizations to fuel the violence of the Second lntifada depended on the knowing

participation and substantial assistance of Arab Bank.

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Incentivizing Suicide Bombers Wit_h Cas§“r Rcward§

444. The iirst, but not the only, way in which Arab Banl< and its co-conspirators seek to
accomplish their common scheme and goals is to provide a comprehensive “insurance death benetit”
of 20,000 Saudi Riyals (the equivalent of about USD $5,3l6,06) to the families of Palestinian
terrorists, guaranteeing “universal coverage” to terrorists and their beneficiaries whenever a terrorist is
killed The lump sum initial payment is often followed with lesser monthly payments These are not
legitimate insurance payments but “cash rewards” for committing crimes.

445. Benefits (less than if a terrorist is killed) as incentives and rewards to the terrorists,
prisoners and their families are also provided if the terrorist is injured either by Israeli security forces
or captured as a result of his or her criminal conduct

446. The Saudi Committee has provided millions of dollars in benefits to the families of the
so-called “rnartyrs,” wi,,.,§,,, the families of suicide bombers and individuals killed by Israeli forces during
the commission or attempted commission of terrorist acts, and to the families of Palestinians wounded
during violent confrontations with Israel’s security forces, as well those activists held in israeli
custody. This type of support is critical to the terror organizations’ efforts to win the hearts and minds
of the Palestinian people and to create an infrastructure capable of solidifying their position within
Palestinian society.

447. The “insurance benefit” not only provides universal coverage for specific members of
preferred terrorist organizations such as HAMAS, but is intended as universal coverage available to
terrorists belonging to any terrorist organization or to none at all, thereby incentivlzing and rewarding
a_ll terrorists in israel and eliminating the potential distinctions between terrorist groups, between
individual (freelance) terrorists and the more established terrorist cells, and between the secular and

radical lslarnist terrorist organizations

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448. Defendant Arab Bank knowingly and Wiilfully encourages, supports, aids and actively
administers this comprehensive terrorist insurance scheme by distributing the benefits in accordance
With lists of families of “rnartyrs” and others eligible for “coverage.” This financial support is a key
inducement to terror. lt has encouraged incited and made possible the terror attacks of the Second
lntifada. According to terrorists, it Was well known that if a terrorist vvas injured, or killed, during an
operation against lsrael, her citizens, workers and visitors to israel and the surrounding territories, they
Wonld receive Saudi monies from the Arab Banl<, PLC. As pled herein, the murderer of Esther
Kliernan received from an officer at the Arab Bank; in Ramallah one thousand three hundred dollars
months alter his injury, and subsequently murdered Esther Kliernan in an attack upon a public bus on
the road into Jerusalem, lsrael, Where she was heading to provide care for special needs children
This terrorist attack, but one tragic example of the result of the active, intentional, knowing
participation in the scheme, plan and design of the conspiracy that included the Arab Banlc, acting in
concert with the Saudi Cornrnittee and various terrorist organizations, and others, renders the Arab
Banl< liable for the foreseeable consequences, including the murder of innocent civilians Who are
plaintiffs herein, and their families, and their estates, each of Whorn are entitled to receive damages as
allowed by applicable US law.

449. In furtherance of the conspiracy, Arab Bank actively and knowingly participates in a
formalized and extensive process that requires the families of so~called martyrs to obtain an official
certification of their deceased relative’s status as a bona tide martyr, replete Witli an individualized
identification number.

450. Arab Banl<, in turn, is provided relatively detailed lists by the Saudi Cornrnittee and

representatives of the leading terrorist groups through their “charitable” front organizations consisting

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of the names of the martyrs, certain of their personal information and details concerning the date and
manner of death.

451. Arab Bank, in consultation with the Saudi Coinrnittee and local representatives of
HAMAS and other terror groups, finalizes the lists, maintains a database of persons eligible under this
universal coverage plan, and opens a dollar account for each beneficiary Every Palestinian family
eligible under this universal coverage plan is encouraged to collect the terrorism benefits through a
local branch of Arab Bank in the West Bank or Gaza.

452. lt they choose to collect the insurance benetit, the families are required to present to the
bank an “official” certification from the Palestinian Autbority (replete With a unique identification
number) establishing the bona fides of the martyr.

453. ff the documentation proves satisfactory, Arab Bank issues a receipt to the designated
recipient of the martyrdorn insurance benefit For example, Dia A-'l`awil perpetrated a suicide
bombing attack on March 27, ZOOl on behalf of HAMAS. He Was designated Paiestinian Authority
l\/iartyr No. 449. His father, Hussien l\/Iohan:ied Favah 'l`awil, presented the “officia ” certification to
Arab Bank, and received a confirmatory receipt stating that the benefit Was paid to his Arab Bank
account in Rarnallah.

454. A report from the Website of the Saudi Committee for Relief of the Palestinians
(originaliy known as the Saudi Cornrnittee in Support of the Intifada al Quds), describes the
mechanism of the donations and the transfer of the money:

The Mechanism of delivering relief:
l. Assessment study of the Aids~relief inside Palestine
Choosing the Prograrns that help in achieving the Ainis and goals of the
Comrnittee
Exploring How to deliver Aids»relief to beneficiaries

Choosing some recommended Palestinian personalities for Follow~up
Setting a Coordination council in Gaza and West Banl<

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6. Listing names of beneficiaries of Cominittee programs and completing and
revising the information

7. Studying names of beneficiaries and opening files for them for taking the
needed procedures later

8. Sending Name-lists of beneficiaries to his Highness, the General Supervisor
for taking the needed procedures

9. Opening accounts for each beneficiary in the branches of Arab Bank in
Palestine

lO. Transferring Money for each beneficiary and notifying them

(btto:f/WWW.alouds~saudi.oro/static/mechanism.htm)

455. 'l`he conspiracy among Arab Bank, the Saudi Committee, HAMAS and others terror
groups is ultimately designed to provide substantial material support to Palestinian terrorist
organizations and to provide a meaningful incentive both to prospective recruits and to individuals
contemplating the commission of independent acts of violence in the name of the “popular resistance.”

456. According to a sworn declaration of the Chief Banking Officer of Arab Bank made on
l\lovernber ll, 2004, “beginning in December of 2000, the Saudi Comrnittee made approximately
200,000 payments into Palestine through Arab Bank branches totaling over US$90,000,000.” This
astounding sum of money and individual payment disbursements, constitute substantial and direct
material support for, and financial services to, terrorists and their organizations, which could not have
been accomplished without the active, integral involvement and participation of Defendant Arab Bank.

457. For example, this extraordinary activity of the Arab Bank in transferring monies
through its system, starting with foreign currency, and exchanging said currency into US dollars
through its New Yorl< branch; and transferring said funds through its offices and systems and
personnel to such locations as the Arab Bank branch in Ramallah for distribution to such terrorists as

the murderer of Estber Klieman, is clear and convincing evidence, irrefutable proof, of the active,

knowing and intentional involvement of the Arab Bank in the conspiracy to incentivize murder, and to

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reward murder, thereby rendering the Arab Bank liable for all damages to which the plaintiffs are
entitled under US law, as claimed herein.

458. Any person Who chooses to participate in a suicide bombing or other terrorist attack
does so secure in the knowledge that, if he or she is killed in that attacl<, the financial needs of his or
her family vvill be more than met for some time. "l`his acts as a material inducement because such
persons are virtually assured of receiving a substantial stipend if they are injured or arrested

459. ln short, the Saudi Cornmittee raises funds from private donors in Saudi Arabia and
elsewhere in the Persian Gulf region and then allocates payments to defendant Arab Bank to fulfill its
public pledge of universal insurance coverage to Palestinian terrorists

460. Fonner Seeretary of State Colin L. Powell, Defense Secretary Donald H. Rumsfeld and
his former deputy, Paul D. Wolfowitz, have all stated that cash rewards for suicide bombers encourage
suicide bombing attacks ln July 2004, Vice President Cheney criticized Saddam Hussein’s supply of
cash to suicide bombers’ families, identifying the payments as “fmancial rewards.”

461. A November 2001 Federal Bureau of lnvestigation memorandum explored the effect of
these cash awards for suicide bombing: “Hamas provides a constant flow of suicide volunteers and
buttresses a terrorist infrastructure heavily reliant on moral support of the Palestinian populace. . .”

462. Throngh the program administered by Arab Bank, the Saudi Connnittee paid death
benefits to at least 200 fallen “martyrs” in the first year of its existence alone. As of November 200l,
the Saudi Cornrnittee paid more than forty-two million dollars ($42,000,000) to terrorists and/or their
beneficiaries After only l8 months, the Saudi Cornrnittee had raised over $57,000,000. ln one widely
publicized telethon, the Saudi Comrnittee raised over $ l OO,UO0,000 in just a few daysl

463. Arab Bank serves as the near exclusive administrator for the Saudi Coinrnittee’s

universal insurance coverage plan for Palestinian terrorists and their families Arab Bank substantially

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assists its co~conspirators in advancing their unlawful objectives by allowing those terrorists access to
Arab Banl<’ computer system, membership in SWIFT, personnel, accounting services, worldwide
offices and other resources

464. indeed, on its original website, the Saudi Comrnittee openly declared that its funds were
distributed to the families of martyrs through local branches of Arab Bank in Palestine Although it
has since been removed from the lnternet, the original archived webpage located at www.alquds~
saudia.org\indexa.htm provided a list under the caption: “What has been done with your donations?”

465. Item number ten (10) on the web page responds with the answer: “Opening a bank
account for every entitled [Palestinian] through the Arab Bank in Palestine.” The website further listed
numerous “martyrs” whose cause of death was listed as “suicide attack.”

466. The Saudi Comrnittee’s web site at one time disclosed thousands of payments it had
made to martyrs. A Congressional Research Service (“CRS”)Z report reveals that the Saudi
Comrnittee did not treat the identify of the beneficiaries of its funds as confidential or private, but
rather published this information on its web site. According to this Report to Congress, the Saudi
Committee web site contained over 40,000 transaction records that “feature the names of individuals
who received money” from the Saudi Comrnittee. This enabled the Congressional analysts to compare
those names with those of known and continued “suicide bombers.” 'l`he Saudi Committee web site
records reflect it paid money to over 60 known Palestinian militants from October 2000 to March
2002, including suicide bombers. A “sampie of five names of beneficiaries on the Committee website
matched those oi”:

-Said Hassan Hussein Hotari, who blew himself up in Tel Aviv on June l, 2001, killing
dozens of teenagers at the Dolphinariurn nightclub;

 

2 CRS is a research arm of the U.S. Congi'ess within the Library of Congress. lt works exclusively for members of
Congress, their committees and stafi`.

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~Izzedin Shahil Ahmed Masri, who blew himself up iii Jerusal.em on August 9, 200l, killing
15 people at Sharro Pizza;

~Maher' Muhiaddin Kalnel Habeishi, who blew himseif up on a Haifa bus on Decernber 2,
2003;

»Wa’l`a Ali Khalil Idris, who blew herself up in .lerusalen'i in January 2002;

-Moharnrned Ahtned Abdel»Rahxnan Daraglinieh, who blew himself up in a neighborhood
of Jerusalem.

The Congressional Report cited lists of the Saudi Coniniittee which were on its web site that showed
the recipient of the funds had died in a “ctmaliya fsl'ishadiya, ” i.e., a “rnartyrd.oni operation,” On
information and belief, Arab Banl< made numerous other transfers for the Saudi Coniniittee to pay
other terrorists their rewards Sorne of these additional transfers include, but are not limited to,
transfers made to the families of the foliowing terrorists:

a. ()sama Muhamrnad `Eid Bahr, ID no. 94479l169, killed on December i, 2001 in
the Ben-Yehnda attack in Jerusaiein. His family received 20,000 SR.

b. Atef Allrnad Salern `Abayat, ID no. 911665107, killed on October 18, 2001.
ilis family received 20,000 SR.

467. ln the annual report issued by the Saudi Cominittee and published in the Saudi
newspaper Al~Jazira on February il, 2001, the Saudi Cominittee identified payments made to
Paiestinian prisoners as well as Palestinian “martyrs.” Notably, Table 4, Coiurrin ill of the report
helpfully identifies the cause of death for each martyr. For example, l\/lusa Abd al~Qadir Glianiinat,
the HAMAS operative who perpetrated a suicide attack at the Apropo restaurant in Tei Aviv, is listed
as an illustrative martyr.

468. Accordingly, there can be no confusion as to whether the “insurance plan” includes the
families of suicide bombers and rio question that defendant Arab Bank possesses knowledge of this

fact.

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469. Defendant Arab Bank provides a convenient means for distributing this universal
coverage death and dismemberment benefit across Palestinian~controlled territories, which would be
far more difficult if attempted by other means, such as courier. Israeli territory separates Gaza from
the West Bank and Israeli military checkpoints often separate one Palestinian city from another.

470. Arab Bank makes it possible for the terrorist groups to transcend physical obstacles and
to provide an organized and professional distribution system that literally underwrites the terror
campaign Arab Bank knowingly aliows the terrorist groups to use the speed and efficiencies of the
international banking system, including the SWlFT system of wire transfers, to further their terrorism
agenda. lt also made its facilities and staff available to its coconspirators to facilitate the financial
services it provides terrorist groups

471. ”l`he Saudi Connnittee and local HAMAS and PIJ “charitable” front organizations have
publicly and repeatedly advertised their unlawful purpose in both Saudi and Palestinian newspapers, on
television and on the Saudi Cornmittee‘s website Arab Bank was well aware of the unlawful acts and
objectives of these front organizations and terrorists and potential terrorists were well aware of the
substantial support Arab Bank provided to those terrorist organizations For instance:

¢ ln the February 10, 2001 edition of the Saudi newspaper Al-Jazirah, the Saudi Committee
published an annual report in which it listed the names of Palestinian prisoners to whom it
provided terrorism benefits as well as the names of the Palestinian martyrs (including the
names of those killed in suicide bombings) whose families received terrorism death benefits;

¢ in a November 23, 2001 edition of the Palestiniari newspaper, Al Quds, the Saudi Cornmittee
placed an announcement listing the names of more than l,000 individuals who had been injured
during the Intifada or held in Israeli custody and invited them or their families “to go to the

branches of the Arab Banl< in their places of residence to receive their allocations donated by
the Comrnittee...”; and

» In a February lS, 2002 advertisement in the Palestinian newspaper Al Hayyat Al Jedida, a
HAMAS charitable front organization in Ramallah announced that the Saudi Comrnittee
“requests that the families of the martyrs whose names are listed herein to go to a branch of the
Arab blank in their place of residence to receive the tenth payment offered by the Saudi
Committee in the amount of SS,S 16.06 ....”

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472. Since the Saudi Cornrnittee raises its funds in Saudi currency, which cannot
conveniently be converted into israeli currency (rnost commonly used in Palestinian controlled areas),
those funds are primarily converted into U.S. dollars through the New Yorlc branch of Arab Bank and
then routed to the local branches of Arab Bank in the West Banl<. Arab Bank’s role is material and
essential to the furtherance of the criminal conspiracy in at least two (2) important respects

473. Firstly, Arab Banl< provides both professionalism and transparency to the process,
thereby reassuring wealthy Saudi and Gulf State donors that the money they are contributing will not
be siphoned off by corrupt officials, but will in fact reach the families of terrorists as intended 'l`he
willingness of a major institution in the Middle East to perform services for the terrorists helps to
legitimize terrorism and, in that way as well, further assists the terrorists.

474. Secondly, Arab Banl<, through its extensive network of local branches in the West Banl<
and Gaza, provides an ideal distribution system that offers both convenience to the families of the
terrorists, who are able to bypass both the corruption of the Palestinian Authority and the uncertainty
of cash payments delivered by courier, and the certainty of an accounting system that minimizes the
risk of duplicate payments and unreliable record-keeping

475. By knowingly and actively participating in this process, Arab Banl< and its co»
conspirators, the Saudi Committee and others, have knowingly aided and abetted each and every
terrorist act committed by Palestinian terrorists since the formation of the Saudi Committee’s universal
insurance coverage scheme in October 2000, including those that have injured, harmed or killed
Plaintiffs.

476. 'I`he names of the “suicide bombers” of the Second Intifada were widely disseminated
promptly after each terrorist act occurred Tel.evision, radio and newspaper coverage was extensive

Posters, matches and other large public events in the PA controlled territories occurred which

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extensively published the identities of the homicide bombers. Lists of the names of the bombers were
even proudiy maintained and disseminated by the terror organizations the PA, and various groups such
as the Palestinian Human Rights Monitoring Group. Clearly, Arab Banl< actually knew who these
terrorists Were and that the Bank Was rewarding them by distributing money at the Bank to the
bombers’ families Posters of the suicide bombers often hung on the Banl<’s branches and in the
offices of many of the “charities" that had accounts at Arab Bank.

477. Arab Bank was aware of the methods and means by which HAMAS and other Foreign
Terrorist Organizations sought to carry out their objectives Arab Banl< continued its course of conduct
throughout the Second intifada, from the first attacks in the fall of 2000 to the most recent in 2005. in
fact, Arab Bank’s own support ot`, and commitment to, the vioient goals of its co»conspirators are
embodied by the personal commitment of Arab Banl<’s Chairman, Abdui Majeed Shoman. Accord.ing
to published reports in Al Bayan (a newspaper in the United Arab Emirates), Abdul Majeed Shoman
traveled to Qatar to attend a meeting called to raise money to finance and support the Al Aqsa Intit`ada.

478. In a July 2000 published report in the Jordanian daily newspaper Addusl'our, Abdul
Maj eed Shornan is described as favoring the destruction of the State of Israei.

479. A published report in an October 2000 issue of the Jordanian daily newspaper
Addustour stated that both the management and employees of Arab Bank Were donating funds to
support the Intifada.

480. Neither the ideology nor the actual conduct of Arab Banl< is passive or indifferent to the
goals of, and means employed by, the terrorists; rather, Arab Bank is a knowing, willful and material
participant in the terrorists’ conduct This is consistent with the ideology ot` the Bank’s founders, the

Shoman Farnily, Who have been long-time supporters and even executives of the PLO.

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481. The website section dealing with Arab Banl<’S Paiestine branch reflects certain direct
financial donations of Arab Banl< for “Palestinian community projects.” These payments reveal Arab
Bank’s clear role in supporting the violence against civilians

Among the donations listed are:

¢ 17/8/2004 ~ Mandelia Grganization/ Donating Schooi Bags to Prisoners’ Children

0 Arab Banl< offered prisoners’ children with school bags as well as stationery, aiming to
help and support them and their children with their suffering

0 2/5/2004 ~ Arab Bank offered donations to Abu Jihad’s Center for Prisoner Movement
in Ierusalern University

v Aral) Bank offered donations to Abu Jihad’s Center for Prisoner Movement in
Jerusalem University. ’i`he donations were given through buying books about
Palestinian Prisoners’ iives, thus supporting the Prisoner’s Movernent in Palestine

¢ 21/3/2003 » Arab Bank sponsors the Event of Recognizing Mothers of Martyrs and Prisoners

~ Arab Bank sponsored the event of recognizing the mothers of i\/Iartyrs and Prisoners in
Al Amari refugee camp. The event was organized by the Wornen Center in the refugee
camp.

(http://Www.arabbank.ps/english/irmer.asp?itern=?) &mtitle““-“Ar&stitle=el )

482. The Bank explicitly acknowiedges its support of “rnothers of l\/lartyrs and Prisoners,”

showing its direct involvement in assisting families of terrorists

Arab Bank Provides Material Stlpport to Foreign Terrorist
Organizations At All Leveis of Thcir Giobal Financial Networi__g

483. In addition to providing the comprehensive universal “insurance coverage” described
above, Arab Banl< provides financial services and material support to known terrorist groups and their
agents and alter egos, as described below. HAl\/IAS has created a global financial network to support
its campaign of violent jihad through terrorism for the establishment of an lsiarnic State in Palestine
At the base ievel where it raises and collects funds worldwide for this purpose, it has created and/or

taken control over various alleged “cliarities” to raise money in certain parts of the world For

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example, HAMAS raises fund though: the “lnternational Relief Fund for the Aftlicted and l\leedy”
(“IR_FAN”) in Canada; the lioly Land Foundation (“HLF”) in the United States; the Palestinian Relief
and Developrnent Fund (“INTERPAL”) in the United Kingdom; the Commire de Bienfaisance er de
Secours crux Palestiniens (“CBSP”) in France; the Al Aqsa Foundation or Fund in Gennany; the
Palestinian Association in Austria (“PVOE”) in Austria; the Assocz`atz'on de Secours Palestinien
(“ASP”), which is a subsidiary of CBSP, in Switzerland; the Sanbal Al Aqsa in Sweden; the Sanibii
Association for Relief and Development in Lebanon; and the Saudi Committee in Saudi Arabia and the
surrounding Persian Gulf region. HAMAS also has organizations in Qatar and Dubai that collect funds
for HAMAS in those regions The leaders of these organizations are often well known HAl\/.[AS
leaders These HAMAS entities also have substantial interconnections. For example, Sanibil
represents lNTERPAL in Lebanon.

484. At the outbreak of the Second intifada, in October, 2000, the “Union of Good” (“UG”)
or in Arabic, ‘l ’fr'laf al-Khayr, was created as part of the conspiracy and scheme to raise funds for
terrorist activity. The UG was established to serve as an umbrella organization for global fundraising
for Palestinian jihad. The UG is headed by Dr. Yussuf al»Qardawi, who has issued a farwa authorizing
suicide bombing attacks against Israel. "l`he UG is run by ‘Essam Yussut`, a leading figure in
iNTERPAL. The PA considers UG to be a body supporting HAMAS. Arab Banl< has provided
financial services to UG and has allowed it to solicit funds to support terrorism that UG directed
donors to transfer to Arab Banl< accounts all over the world Arab Bank has also transferred funds of
UG to the Nablus based Al-Tadhamun which are then distributed to shaheed families, including those
who committed suicide bombing attacks in israel

485. Arab Banl< has provided financial services to most, if not all, of the HAMAS

fundraising entities described in the preceding paragraphs Arab Bank has done this with actual

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awareness of the unlawful nature and purpose of the activities ot` these organizations In l\/lay 1997,
the Governrnent of Israel declared four of these organizations ~- HLF, INTERPAL, Ai AQSA FUND
and CBSP -- unlawful because ot` their association, support and control by HAMAS. Despite this and
other means by which Arab Bank knew of the unlawful activities ol` these organizations it has
nevertheless used its worldwide banking branches to assist HAMAS with its unlawful purposes For
example, Arab Banl< branches in London, Paris, Frankfurt, Geneva, New York, and Rorne have been
used to transfer funds for these HAMAS entities. ln August 2003, the United States designated CBSP,
ASP, lNTERPAL, PVOE, and SANABIL as Specially Designated Global 'l`errorists (“SDGTS”)
because they were controlled by HAMAS. The US designated Al Aqsa Foundation as a SDGT in
May, 2003.

486. After HAMAS raises funds through these organizations and others to support their
terrorist acts, it transfers the funds downstreain. 'l`he funds are often directed toward HAMAS
operatives who plan and carry out terror actions These payments are often sent through “charitable”
front organizations which HAMAS controls On a smaller scale, Pl.l has followed the same pattern

487. llAl\/EAS (and PlJ to a smaller degree) also raise funds to finance an educational and
social services network through which they indoctrinate the Palestinian population with a hatred for
lsrael, lews, Arnericans and other non~radical lslarnists, while glorifying acts of violence by
“shaheeds.” HAMAS and PII engage in these “educational” activities so that they will have a
Palestinian population ready and willing to engage in terrorism.

488. Arab Bank not only provides financial services at the base level to the organizations
which raise and collect the funds, but it also knowingly provides banking services to the “charitable"
committees that are the vehicles used to distribute the hinds downstrearn. Arab Bank affirmatively and

substantially assists HAMAS in distributing funds to support the lntifada terror and hate campaign

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Arab Banl< does not merely provide routine banking services to these groups Rather, throughout the
al-Aqsa lntit"ada, Arab Bank has knowingly assisted various terrorist organizations and terrorists by
providing them with bank accounts and financial services in order to facilitate their collection and
distribution of funds for terrorist purposes Arab Bank has often provided such services in connection
with public fundraising efforts conducted by terrorist organizations through radio, TV, and lnternet
solicitation efforts Arab Bank has also materially assisted PlJ’s efforts to finance terrorist acts by
permitting PlJ to urge donors to transfer funding for jihad in Palestine to specific Arab Bank accounts

489. Arab Bank knowingly provides banking services to HAMAS directly through its Al-
Mazra l:?»ranch Account # 3-810~622473»0330 in Beirat, which collects funds directly in the name of
HAl\/IAS, and through charitable front organizations controlled by HAMAS, which Arab Bank
affirmatively assists in distributing funds to support the terror campaign Arab Bank has also
maintained accounts for individual terrorist operatives, including but not limited to a Halnas operative
from Qalqiliya, and Patah/Tanzirn leaders from Jenin and Nablus. lt also knowingly provides financial
services directly to the families of suicide bombers.

490. The United States Departinent of Justice has identified the website: www.palestine~
info.coin as one of the “official” websites of HAMAS. Tbe website solicits funds and asks
contributors to Send money to its Al-l\/lazra Branch Account # 3-810~622473»0330 at Arab Bank in
Beirut, but it also asks donors “to cite only the account number and not the name of the [Palestine
lnformation] Centcr or any other names.”

491. This request is necessary because Account # 3»810~622473-0330 is one of the few
accounts that Arab Bank operates on behalf of HAMAS and that HAl\/IAS controls and maintains

directly

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492. 'i`o assist it in carrying out its terrorist activities and to conceal its unlawful conduct,

HAi\/IAS has established or taken over numerous “char'itable organizations,” including:

i. Al-Ansar Charity;

ii. Rarnallah Charitable Cornrnittee or Society',

iii. Tull<arern Charitable Comrnittee;

iv. the lslarnic Association (Gaza) a/l</a Al .larnaya Al-Islarniya;
v. Al l\/luj ama Ai»lslarni;

vi. Nabius Charitable Conrnnittee;

vii. ienin Charitable Cornnrittee or Society;

viii. islamic Charitable Society of Hebron aka Al»-Jarniyah Al~Khiriah Ai»

Islarniyah;
ix. Bethiehern Orphan Care Society aka jaini’yya ri’aya al-yatim', and
x. Al-Tadhaniun Charita‘ole Society.

493. Arab Bank provides financial services to Al-Ansar Charity, Rarnallah Charitable
Coinrnittee, Tuikarem Charitable Cornrnittee, the lslarnic Association (Gaza) a/k/a Al lamaya Al-
islamiya, Nablus Charitable Cornrnittee and Jenin Charitable Cornmittee. lt also provides financial
services to the Union of Good, which transfers funds to many of these “charitable societies.”

494. The Tull<arern Charitable Cornmittee, Nablus Charitable Cornrnittec, Rarnallah
Charitable Cornmittee, Jenin Charitable Cornrnittee and Islarnic Charity Society of Hebron have all
been identified by tire United States Departrnent of Justice as HAMAS front organizations and the
management of each of these “charities” is in fact controlled by HAi\/iAS operatives

495. 'fhe Tuikarern, Rarnaliah and Jenin Charitable Cornrnittees, the Islarnic Charity Society
of He‘oron and Al»'l`adharnun were all designated as “Uniawful Organizations” by the government of

Israel in February 2002 because of their connection to HAMAS, a fact Which either vvas known or but

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for its willful blindness would have been known to Defendant Arab Bank. The PA closed rnany of
these organizations from time to time because of their ties to HAMAS. For exaniple, the PA closed
Ai-Tadharnun in Decernber 2001.

496. The ties among Arab Bank, HAMAS and Tuikarern Charitable Committee have been
demonstrated For exampie, a document posted on the HAMAS internet web site on July l0, 2004
reveals that, in appealing to an A;rab Bank director for support from the Saudi Cornrnittee, the
chairman of the ’i`ulkarem Charitable Cornmittee stated:

To save the holy Ternple Mount and the intit`ada of the valiant Palestinian people . .to

reveal the Zionist danger to the Arab and islamic world. . .to save lerusaleni and Al~Aqsa,

to support the fighters and to publicize their courage and brave resistance . .to expose the

truth other are trying to hide, ignore and distort. . .the Palestinian lnforrnation Center [the

HAMAS internet site], Palestine’s voice to the world. . . [calls upon you to] contribute to

the Palestinian Information Center site on the Internet contribute to the site so that it can

continue to expand. . .heip us, participate in the truth by supporting Palestinian and

Islamic media The Palestinian lnforrnation Center accepts contributions and financial
participation The account is in American dollars

Harnas Alter Egos
497. Plaintiffs allege that the following entities are fronts, agents, instrumentalities or alter

egos of Harnas:

a. lslamic Charity Association aka lslamic Charitable Society in Hebron;

b. Charity Cornrnittee in Rainallah aka Rarnalia`h Zakat Cornmittee;

c. Jenin Zakat Conirnittee aka The Charity Association in Jenin;

d. Nablus Zai<at Cornrnittee;

e. Tulkarern aka Tulkarrn Zakat Cornrnittee;

f. Orphan Care Association (Bethlehern);

g. Qalqulia, aka Qalqiliyali Zakat corninittee;

h. Hebron Zakat Cornrnittee aka Hebron Tithing And Ah'ns Comrnittee;

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i. Halhul Zakat Committee;
j. Al Aslah Association in el Bireh; and

k. Al-Tadhamun Charitabie Society (jam ’iyyni‘ nl-l'adhamun al-khayriyyah al-
islamiyyah)

498. Plaintiffs will show that these entities are the alter ego of HAMAS and knowingly act as

agents for HAMAS, all of which is well known to Arab Bank because, among other things:

a. leaders of the committees are HAMAS operatives;

b. the Comrnittees are connected to HAMAS military operations;

c. The PA has treated the entities as HAMAS’ entities;

d. The Palestinian population considers the committees “to be HAMAS.”

499. Arab Banl< continues to knowingly render financial services for many of these HAMAS
ii”onts, terrorist operatives and their families, and others Arab Bank has also knowingly served as a
conduit for transferring money from iran and Syria and its agents and instrumentalities to persons and
organizations in Gaza and the West Bank who use such funds to engage in terrorism and incite
violence
PIJ Alter Egos

500. line PIJ has also established numerous front organizations, including but not limited to:

a. Al-lhsan Charitable Society aka Elehssan Society aka Elehssan Charitable
Society; and

b. Islamio An~Naqqa Society for Wornen, Bethlehern.
501. Arab Banl< provides financial services to Al-Ihsan Charitable Society with knowledge of
or willful blindness to its role in supporting PI.l.
502. The l-IAMAS charitable front, Al-Ansar Charity, maintains a website proclaiming that:

Al-Ansar Society opens its doors to the families of the martyrs who intend to
register their dead who, with their splendid blood, saturated pure Palestine and

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drew the lines of liberty and the corning dawn. The Al-Ansar Society is
following in their footsteps and shares in the sorrow and the hopes of the
families of the martyrs and their relatives

503. rl`he website further boasts that it has given money to Palestinians who were wonnded,
incarcerated or killed during the lntifada, including 56,000.00 to the farnin of Iz Aidin (also spelled:
“Azzadin”) Al l.\/iasri, the suicide bomber who massacred 15 people, including 7 children, and injured
more than one hundred people at the S`oarro pizzeria in downtown lerusalein on August 9, 200l.

504. 'l`he website of Al-Ansar shows the vital role of Arab Banl<;:

'l`he Director General of the Al-Ansar Charitable Society and the person in
charge of the portfolio for the care of the martyrs at the Society’s website
said that the Society has furnished the management of the Arab Banl< with
lists of names of the martvrs and the families of the entitled beneficiaries
in order to nav the monies to which the martvrs are entitled

5 05. Al»Ansar maintains an account with Arab Banlt in Gaza.

506. Defendant Arab Bank has also knowingly laundered funds for the Holy Land
Foundation for Relief and Development (“HLF”), a Texas based “charity” which has raised funds in
the United States for HAMAS for more than a decade Arab Banl<, in turn, channeled tens of
thousands of dollars for HLF through its New York branch to the Rarnallah Charitable Committee, an
agent of HAl\/IAS.

507. HLF and its officers have been criminally indicted in the United States District Court
for the Northern District of Texas for providing material support to a designated Foreign 'l`errorist
Organization (HAl\/IAS) ~ including for specific transactions involving payments made by HLF to the
Ramallah Charitable Committee, Tulkarem Zakat Committee, and the islamic Charity Society of
llebron.

508. The indictment specifies particular financial transactions initiated by HLF that resulted

in monetary transfers to the Rarnallah Charitabie Cornrnittee, which violate 18 U.S.C. §233913. HLF

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has been adjudicated liable for violating the ATA in the recent summary judgment order in the case of
Boim v. Qumm'c illiteracy Insl'imte, et al., 2004 WL 2554446, mF. Supp. 2d___(N. D. Ill. Nov. lt),
2004).

509. Over 7 years ago, on May 6, 1997, the government of Israel designated HLF as a
HAMAS front organization and declared that HLF “deals in the practice of transferring monies to
families of HAMAS activists, who carried out deadly attacks ....”

510. Nonetheless, Arab Bank continued to provide financial services to HLF and its New
Yorl< branch and continued to wire thousands of dollars to the Rarnallah Charitable Coinmittee at
HLF’s behest

511. On lanuary lO, 2001 a federal district court in illinois rendered a decision declining to
grant a motion to dismiss in a civil case initiated by the parents of David Boim, who was killed by a
l-IAMAS terrorist in 1997. The Boirns had sued, among others, HLF, for providing material support to
HAMAS, a designated Foreign 'l`errorist Organization.

512. Nonetheless, Arab Banl< continued to deposit HLF fund transfers and credit the Arab
Banl< account of the Ramallah charitable front even after the Boz'm case placed Arab Banl< on further
notice of HLF’s criminal activities

513. Similarly, the New York branch of Arab Bank has facilitated the transfer of significant
sums to Tulkarem Charitable Comrnittee, despite the fact that in some cases both the “donor” of the
funds as well as the recipient had been previously formally designated as “Unlawful Organizations” by
the government of Israel.

5l4. Moreover, following the israeli army’s military operations in the spring of 2002, the
government of israel obtained and subsequently disclosed extensive materials (most of them available

on the internet) demonstrating the Tulkarem Charitable Committee’s connections to HAMAS.

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515. One of the signatories on the Tull<arem Charitable Committee account is Ammar
Tawfiq Ahmad Badawi, a prominent member of the l\/Iuslim Scholars Association, who was a
signatory on the infamous Farwa - or Islamic religious ruling - declaring that suicide bombings are
permitted by islamic law. Mr. Badawi is a leading figure in HAMAS.

5l6. Arab Bank has also knowingly laundered funds for INTERPAL, a London based
“charity” that has raised funds in Europe for HAMAS for more than a decade Arab Banl<, in turn,
channeled tens of thousands of dollars for INTERPAL through its New Yorl< branch to various
HAl\/IAS nakat committees Arab Bank has also knowingly laundered and permitted PIJ to solicit funds
on its website (www.Palestinewav.com or www.abrarwav.com) for its terrorist activities by sending
money to various accounts maintained by Arab Banl<. Often, the account designated is one of the
“charitable” front organizations to try to mask the true nature of the money. lt is clear from the
solicitation that money is being sought for military uses and jihad and not humanitarian uses. Arab
Banl< knows of these solicitations or is willfully blind to them.

5 l7. Arab Bank also provides financial services and material support to individual terrorists
and their families by making accounts available to them despite actual general awareness that they are
engaged in unlawful terror activities
Cultivation of the Culture of Death

518. The “charitable” front organizations play a central role in financing the terror campaign
by providing the means of raising funds to maintain the institutions that serve as recruiting grounds for
terrorist organizations This fact is known to l)efendant Arab Banlt.

519. As set forth in an internal HAMAS memorandum recently captured by the Israeli army

during a raid of the offices of the Hebron Charitable Cornrnittee, HAMAS has arranged for the

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“trarisfer [of] large sums” to the charitable committee and other HAMAS front organizations through
the “charity activities” of their operatives abroad

52(). The memorandum emphasizes that l~lAi\/EAS “require[s] new bank account numbers for
money transfers” and promises that the HAMAS Will:

invest efforts to transfer money for the martyrs (the shahids) and

prisoners, via the transfer [to] charitable institutions This is a primary

goal in the framework of the effort to transfer aid money to these

institutions, so that these budgets are released in the best manner and in

order to bring about an improvement in the level of the movement’s

performance
'l`he memorandum concludes with the promise that HAMAS Will continue to “build up the activities
and operations” of its front organizations by, among other things, “taking advantage of the conditions
and the atmosphere of death.”

523. Each of these front organizations officially holds itself out to the general public as a
charitable organization with a purely humanitarian and benign purpose. ln fact, however, the primary
mission of these organizations, which is known and understood by Defendant Arab Bank, is to raise
and launder funds for terrorist organizations and otherwise to coordinate and conduct activities that are
essential to the conduct of terrorist operations and to the material support of terrorist operations Funds
raised by the “charitabie” front organizations are fungible and are allocated in part to terrorist
activities Plaintiffs allege, as the Assistant Director of the FBl’s Counterterrorisrn Division (Dale L.
Watson) has stated, that crucial financial support for families of HAMAS suicide bombers is assisting
HAMAS by providing a constant flow of suicide volunteers and buttresses a terrorist infrastructure.
Further, HAMAS uses the zakat committees to provide needed social services for the Palestinian

population, thereby gaining support for their movement, including their illegal terrorist attacks against

civilians

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522. The front organizations make money available to HAMAS and the PIJ in accordance
with the instruction of their leaders 'l`hese organizations then disburse a percentage of the funds they
receive from their front organizations to purchase weapons and explosive materials to recruit and train
operatives and otherwise to plan and carry out terrorist attacks

523. By knowingly providing banking and administrative services to “ciiaritable” front
organizations that are controlied and directed by designated Foreign Terrorist Organizations, including
coliecting, transferring and laundering funds for those organizations through its New Yorl< branch,
Arab Bank has substantially assisted HAMAS, Al Aqsa Martyrs Brigade, PIJ and other terrorist
organizations in the furtherance of a rnurderous conspiracy to commit multiple acts of international
terrorism as defined by 18 U.S.C. §§ 233i and 2332 and has committed numerous overt acts in
furtherance of the conspiracy This Wrongful conduct was approved and ratified by senior executives
of the bank and by management level empioyees of Arab Bani< Who were included on correspondence
in which the Banl< was instructed to send payments to the families of suicide bornbers.

524. Arab Bank knowingly maintained accounts for organizations affiliated With terrorist

organizationsj including, but not limited to:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Branch Account No. Narne on Account Associated
Terrorist
Organization
Jenin 581345 Jenin Charitable Society HAMAS
Nablus 400271 Nablus Al~Tadamun Charitable HAMAS
Society
Nablus 400336 Na‘oius lslainic Aid Connnittee HA'MAS
Qalqiiiya 542042 Ai-Qur’an Wa al~Sunnah Society HAMAS
Qalgiiiya
Tuikarem 500010 Tulkarern Charitabie Society HAMAS
Tulkarcrn 50337 5 Tulkarern Charitabie Society HAMAS
Nablus 445444 Al-Lod Claaritable Society HAMAS
Nablus 400415 Social Center, Rehabiiitation HAMAS
Cornrnittee, Al»Wai"aa’ Building
Charitabie Society
Qalgiliya 540939 Qalgiiiya Charitable Society HAMAS

 

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Nablus 400739 Tubas Charitable Society HAMAS
Rarnaliah 666473 Jatna’ah al~lslamiya HAMAS
Ai-Manara- 610686 Rarnallaii Charitable Society HAMAS
Qalgiiiya
Ai-Bireh 6496ll Al-Bireh Al-Islah Society HAMAS
Bethleiiern 717520 Bethlehern Elehssan Society HAMAS
Betbleiiern 709966 Bethiehern Socicty for Orphans Palestinian Islarnic
Jihad
Hebron 760376 Hebron Young Musiirns’ Society HAMAS
Hebron 750049 Hebron Young l\/iusiiins’ Society HAMAS
Hebron 751100 Hebron Young Muslirns’ Society HAMAS
Bethlehern 713392 Zakat Comrnittee Dehaishe Refugee HAMAS
Cainp
Hebron 75 i542 I~Iebron Elehssan Society HAMAS
Bethlehem 71 i 161 Ai-isiah Charitable Society HAMAS
Al-Bireh 609509 Al-Huda Society -»- Ramallali HAMAS
Gaza 124109 Central lslamic Society »»~»» Gaza HAMAS
Strip
Rarnal l00208 Charitable and Children’s Mercy HAMAS
Society _ Gaza Strip
Gaza 10188 House of the Qur’an and Sunnah HAMAS
Society
Rainal 100605 Trusteeship for the Care of the Aged HAMAS
Society
Rarnal 100541 Al~Ansar Society Identitied With fran
Rarnal 120655 Al~Ansar Society Identiiied With iran
Gaza 3683 The Islainic Society HAMAS
Gaza 365459 The Al~Nur Prisoner Society HAMAS
Khan Yunis 2001438 Klian Ynnis Charity and Mercy HAMAS
Society
Gaza 5858 Nusseirat lsiarnic Society HAMAS
Gaza 150/3 Klian Yunis Charitable Society HAMAS
Gaza 35287 Gaza Charitable Society for the Sick HAl\/IAS
Gaza 3155 The Islarnic University - Gaza HAMAS
Khan Yunis 200139 Qararab Islarnic Society HAMAS
Gaza 151 15 Jabalia Islainic Society HAMAS
Rat`ah 2036 Rat`ah Islainic Society HAMAS
Aaariya 302656 Azariya Society for the Fostering of HAMAS
Wornen
Gaza 39435 Nur Ai-Ma’rifah Society HAMAS
lenin 5'78669 Jenin Eiehssan Society Palestinian islamic
Jihad

 

 

 

 

 

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525. Arab Bank has also provided financial services to other terror organizations For
example, l\/lunir ai-Maqdah, also known as Abu Hasan, transferred between $40,000 and $50,000 for
weapons, expenses, and bomb-making materials to the Arab Bani< account of Nasser Aweis, a senior
Fatah operative, and instructed him to report back by telephone on the success of his attacks, such as
the January l7, 2002, assault on the Hadera banquet hall. Arab Bank is generally and clearly aware
that it provides encouragement, aid, assistance, support and financial services to the AAMB and to
various other Palestinian terrorist cells and organizations as referenced herein

526. On October 3, 2000, during the early days of the Intitada, Hezbollah leader Sheil<h
Hassan l\lasrallah and Sheii<h Ahmad Yassin, the former HAMAS leader who was killed on March 22,
2004, were interviewed on ‘Ala al~Hawaa’ [“On the air”], a program that appears on Orbit TV (an
Arabic cable TV network backed by the powerful Mawarid Group of Saudi A.rabia). The program
showed a slide specifying the following Arab Banl< accounts where donations could be deposited for
the Palestinians participating in the violent confrontation with lsrael: Arab Bank, Geneva Branch,
account number 2225200; and Arab Bank, Al-Sharnissani, Arnman, account number 9171.1.510.

527. The Voice of Al»Aqsa Internet site (www.aqsavoice.net) (which served HAMAS)
posted an announcement on May 3, 2004, condemning the israeli Air Force’s attack on the station
'i`he announcement read as follows: “ln order to help renew our broadcasts, you can donate to the Al~
Ribat Lil~l’iam account, number 100835 at the Ai~Rirnai [Gaza] branch of the Arab Bank or {account]
number 20669 at the Arab islamic Bank in Gaza.”

528. A l"iAMAS-affiliated website has called for donations to “Al-Aqsa and the brothers in
Paiestine” through terrorist organizations around the world including lnterpal, Al~Aqsa Foundation,
and CBSP. The website also requested donations to be deposited in the account of the “101 days

organization” at the Arab Bani<°s branch in Lebanon. Furtherrnore, the 101 Days Carnpaign published

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a request on its official website that visitors to its website donate to the organization through its
accounts in any branch of the Arab Banlc

529. On Septernber 25, 1997, the Palestinian Authority closed what it identified as 16
HAMAS institutions and associations HLF’s Gaza office was one of the entities (temporarily) closed
by the Palestinian Authority. The closure, including identification of HLF as a targeted HAMAS
entity, was detailed in a Jerzrsalem Post news account on September 23, l997.

530. Nonetheless, Arab Bank continued to provide financial services to HLF and its New
York branch continued to wire thousands of dollars to the Rarnallah Charitable Cornrnittee at HLF’s
behest

53l. By knowingly providing banking and administrative services to “charitable” front
organizations that are agents of designated Foreign Terrorist Organizations, Arab Bank has
substantially assisted HAMAS and other terrorist organizations in the furtherance of a murderous
conspiracy to commit multiple acts of international terrorism and has committed numerous overt acts
in furtherance of the conspiracy Arab Bank provided financial services and other support to the
particular terror groups responsible for the attacks giving rising to Plaintiffs’ injuries

532. Indeed, had the doors of Arab Bank not been opened to HAMAS or the PU during the
past four and a half years, the leaders of these terrorist organizations would have had to make far more
onerous arrangements to transfer foreign contributions to terrorists within Palestinian»controlled
territory and the great bulk of those funds would likely have never reached their destination.- By acting
in the manner described herein, Arab Bank has facilitated the increase in terrorist attacks and
incentivized the conduct of the suicide bombers.

533. A bank that knowingly provides material support of this kind, directly or indirectly, to

international terror organizations such as HAl\/IAS, PIJ, AAMB, or the others described in this

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Coinplaint is secondarily liable for all of the foreseeable acts committed by the terror organizations
Arab Bank is therefore secondarily liable for the damages suffered by Plaintiffs, all of whom were
injured or killed by terror organizations that Arab Bank supported

ARAB BANK’S FRAUDULENT
C{)NCEALMENT OF I'I`S ILLICIT CONDUCT

534. Througliout the course of the Second Intifada, Arab Banic has made substantial efforts to
conceal its participation in the illicit financing of terrorism and other misconduct alleged by Plaintiffs.
"I`hose efforts at concealing the Bank’s participation in terrorism financing were necessitated by the
fact that the _Bank is a highly regulated financial institution with substantial assets Thus, it was
necessary for Arab Bank to conceal its misconduct both from potential claimants and the government
bodies that regulate the Banl<’s conduct

535. For example, while Ara`o Banl< has made numerous transfers from various Arab Banl<
accounts to accounts controlled by terrorist fronts, Arab Banl< has not reported those transfers to
criminal authorities as was required by law at the time those transfers were inade. Nor has the Bank
made public its support of terrorist front organizations

536. Arab Banl< has also attempted to conceal its participation in the financing of terrorism
by refusing to allow the Saudi Cornniittee and other sponsors of terrorism to locate their offices at
Arab Bank facilities although the Bank has supplied material support for those organizations Ara‘o
Banl< has also, from time to tiine, caused its name to be omitted from various We‘o site solicitations for
funds to finance terrorism in the Middle East.

537. Plaintiffs made reasonable efforts to determine the identities of those involved in the
attacks that injured them. Until recently, however, it was impossible for Plaintiffs to determine that

Arab Bank had actively and intentionally participated in the wrongdoing alleged herein

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53 8. lndeed, until recently, Arab Bank’s illicit conduct remained unknown to Ainerican
banking regulators, although those regulators had unfettered access to Arab Banl<’S records

539. Furthennore, much of the information upon Which Plaintiffs’ claims are based Was
uncovered only in connection with the seizure of records belonging to Arab Banl< and others by Israeli
defense forces lt Was not possible for Plaintift`s to uncover that information until shortly before they
asserted their claims

540. Thus, Plaintiffs undertook reasonable efforts to discover their claims against Arab Bank
but Were prevented i`rorn doing so untii shortly before they initiated this action

CLAIMS FOR RELIEF
C()UNT ONE
AIBING ANI) ABETTING THE MURDER, ATTEMPTED MURBER AND
SERI()US B()DILY INJUR§IES OF UNITED STA'I`ES NATIONALS IN VI()LATION
OF 18 U.S.C. 5 M(al: 18 U.S.C. 8 2332(1)); 18 U.S.C. 8 2332(¢)

541. Plaintiffs repeat and re~allege each and every allegation of the foregoing paragraphs as
if fully set forth herein

542. All of the Plaintiffs have been injured in his person, property or business by reason of
acts of international terrorism including acts that violate the prohibition on killing, attempting to kill,
causing serious bodily injury or attempting to cause serious bodily injury to U.S. citizens set forth in
18 U.S.C. § 2332(a)-(c).

543. The acts of the Palestinian terrorists in killing, and attempting to kill U.S. nationals and
other persons were and are intended (a) to intimidate or coerce the civilian population of Israel, (b) to
influence the policy of the government of lsraei by intimidation or coercion, and (c) to affect the

conduct of the government of Israel by mass destruction and murder. Arab Bank could reasonably

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foresee such acts would occur as a result of the Bank’s substantial assistance of HAMAS, PIJ, AAMB
and the other terror organizations and their agents and alter egos.

544. The acts of international terrorism set forth herein which injured Plaintiffs are extreme
and outrageous and Were committed with the knowledge of and intention to cause extreme physical
pain and suffering to any and all persons within close proximity of the attack and extreme emotional
distress to the family members of those who were killed or injured by reason of those acts.

545. As set forth more fully above, but for the substantial assistance provided by the Arab
Banl<, the funding of the terrorists and the families of terrorists would have been substantially more
difficult to implement Arab Bank’s conduct encouraged terrorists to act.

546. Because it has aided and abetted violations of 18 U.S.C. § 2332, Arab Bank is liable
pursuant to 18 U.S.C. § 2333 for the damages that Plaintiffs sustained Arab Banl< had at least general
awareness of its role as part of an overall illegal activity and provided knowing and substantial
assistance to the terrorists and organizations that injured or killed Plaintiffs.

COUNT TWO

CONSPIRACY TO C€)MMIT MURBER AND ATTEMPTED MURDER OF
UNITED STATES ClTIZENS IN VIOLATI()N (}F 18 U.S.C. §§ 2332§1)} and 2333

547. Plaintiffs repeat and re~allege each and every allegation of the foregoing paragraphs as
if fully set forth herein.

548. All of the Plaintiffs have been injured in his person, property or business by reason of
international terrorism.

549. The acts of international terrorism set forth herein are extreme and outrageous and were
committed with the knowledge of, and intention to, cause extreme physical pain and suffering to any
and all persons within the close proximity of the attack and extreme emotional distress to the family

members of those who were injured or killed by reason of those acts.

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550. Arab Bank knowingly joined a conspiracy by which it knowingly and intentionally
agreed to combine with other persons to act unlawfully in the manner set for in this complaint It
committed overt acts in furtherance of the conspiracy Plaintiffs have suffered harm by reason of the
conspiracy Arab Bank provided extensive financial services and other support to organizations and its
agents that it knew to be terrorist organizations as part of this common scheme At all relevant times,
A.rab Banl< knew of the conspiracy and knew and knows, in particular, of the roles of the charitable
front organizations and their leaders in furtherance of that conspiracy

551. Arab Bank knowingly and purposefully agreed to perform extraordinary banking,
financial services, encouragement, aid, support and administrative services for the Saudi Committee,
HAMAS, the PIJ, AAMB, and other terrorist organizations with the lmowledge, and for the purpose,
that such services facilitate the activities of its leaders and support terrorist activities pursuant to a
common scheme to encourage and incentivize and reward acts of terrorism Arab Bank’s actions, in
fact, facilitated the scheme because, as set forth more fully above, but for the actions of Arab Bank, the
funding of the universal coverage death and dismemberment benefit plans for terrorists and their
families would have been substantially more difficult to implement Arab Banl< has acted in concert
with cthers, as describe herein, to commit illegal acts as part of its agreement to inflict a wrong or
injury against innocent civilians, all to their damage

552. Because it conspired with the Saudi Committee, HAMAS, PIJ, their respective
charitable front enterprises, Al Aqsa l\/lartyrs Brigade, and other terror organizations to support,
encourage and facilitate violations of 18 U.S.C. § 2332(b) that have killed or injured the Plaintiffs,
Arab Banl< is liable to Plaintiffs, and each of them, pursuant to lS U.S.C. § 2333 for the damages that

Plaintiffs sustained

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COUNT THREE

PROVIBING MATERIAL SUPPORT TO TERRORISTS
lN VIOLATION OF 18 U.S.C. 8 2339A

553. Piaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs as
if fully set forth herein

554. The extraordinary financial and administrative services that Arab Bank has knowingly
provided to the terrorists, their families, and HAMAS, the PIJ and AAMB and their agents and alter
egos, including serving as the exclusive administrator of universal coverage insurance to the families
of suicide bombers and other terrorists, provides material support to the preparation and carrying out of
numerous acts of international terrorism Which have caused direct injury to the Plaintiffs.

555. By virtue of its violations of 18 U.S.C. § 2339A, defendant Arab Banl< is liable pursuant
to 18 U.S.C. § 2333 for any and all damages that Plaintiffs have sustained as a result of such injuries.

COUNT FOUR

COMMITTING ACTS OF INTERNATIONAL TERRORISM
IN VIOLATION OF 18 U.S.C. § 233913(21}(1)

556. Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs as
if iiilly set forth herein

557. Arab Bank has provided material support to Foreign 'l`errorist Organizations in violation
0f18 U.S.C. §§ 2339B(a)(l).

55 S. A bank that knowingly provides material support of this kind, directly or indirectly, to a
foreign terror organization such as HAMAS, PIJ and AAMB is secondarin liable for all of the
foreseeable acts committed by the terror organizations. Arab Bank is therefore liable for the injuries

and deaths described herein

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559. Because it committed violations of 18 U.S.C. § 233913, Defendant Arab Banl< is liable
pursuant to 18 U.S.C. § 2333 for all damages that Plaintiffs have sustained as a result of such injuries
C()UNT FIVE

FINANCING OF TERRORISM IN VIOLA'I`ION
OF 18 U.S.C. § 2339€

560. Plaintifts repeat and re~allege each and every allegation of the foregoing paragraphs as
if fully set forth herein

561. The financial services that Arab Banlt has Willfully and unlawfully provided to
HAMAS, the PlJ, AAl\/IB and the Saudi Committee include the collection of funds With the knowledge
that such funds have been and will be used, in part, to facilitate acts intended to cause death or serious
bodily injury to civilians such as the victims of the terrorist acts described in this complaint, who were
not taking part in any armed conflict The purpose of Arab Banl<’s conduct, by its nature or context,
was to intimidate a population or to compel the government of Israei to do or abstain from doing an
act.

562. Because it willfully violated l8 U.S.C. § 2339€, Arab Banl<; is liable pursuant to 18
U.S.C. § 2333 to Plaintiffs who have suffered injuries to their business, person or property by reason of
such acts.

COUNT SIX

ARAB BANK COMMITTEI) ACTS ()F INTERNATIONAL
TERRORISM IN VIOLATI()N ()F 18 U.S.C. 38 2339A. 23393, and 2339€

563. Plaintiffs repeat and re~allege each and every allegation of the foregoing paragraphs as
if fully set forth herein
564. Defendant Arab Banl<’s own acts of providing banking and other services, including the

provision of death benefits, to HAi\/IAS, the PlJ, the AAMB and other international terrorists, were “a

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criminal violation if committed within the jurisdiction of the United States or of any State” and “appear
to be intended to intimidate or coerce a civilian population . . . to influence the policy of a government
by intimidation or coercion or to affect the conduct of a government by mass destruction.”

565. Accordingly, Arab Banks’ own acts constitute acts of international terrorism as defined
by 18 U.S.C. § 2331.

566. Pursuant to 18 U.S.C. § 2333, Arab Banl< is therefore civilly liable for the injuries to
Plaintiffs’ person, property or business caused by the acts of international terrorism alleged herein.

PRAYER FOR RELIEF

WHEREFORE, Plaintit`t`s pray that this Court:

a) Accept jurisdiction over this action;

b) Enter judgment against Ara`o Banlr and in favor of each Plaintiff for all
compensatory and other damages in such amounts for each named Plaintiff as are
allowed by applicable law and as shall he determined at trial;

c) Enter judgment against Arab Banl<_ and in favor of each Plaintiff for treble damages
of each amount awarded pursuant to the previous prayer for relief, and pursuant to
18 U.S.C. § 2333;

d) Enter judgment against Arab Bank and in favor of each Plaintiff for any and all
costs sustained in connection With the prosecution of this action, including
attorneys’ fees, pursuant to l8 U.S.C. § 2333;

e) Enter an Order declaring that Arab Banl< has violated, and is continuing to violate,
the Anti»-Terrorisrn Act, 18 U.S.C. § 2331 e_t _s_e_q.; and

t) Grant such other and further relief as is required by the interests ijustice, including

granting leave to amend this Complaint to the extent necessary to permit justice to

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be served on behalf of each Plaintiff against Arab Bank and any other defendant that

may be hereafter named herein
PLAINTIFFS DEMAND A TRlAL BY JURY ON ALL ISSUES SO TRIABLE.

Dated: April 10, 2007 Respectfully submitted,

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Mark S. Werbner

SAYLES WERBNER P.C.
4400 Renaissance Tower
1201 Elm Street

Dailas, ”i`exas 75270

(214) 939-8700

Attorneys for Plaintiffs

Of Counsel:

SHALOV STONE BONNER & ROCCO LLP
Lee S. Siiaiov (LS-'?l 18)

Jarnes P. Bonner (JB»0629)

485 Seventh Avenue, Suite 1000

New York, New York 10018

(2¥2) 239»4340

HEIDEMAN NUDELMAN & KALIK, P.C.
Richard D. Heideman

Noel J. Nudelrnan

Tracy Reichman Kalik

1146 19th srre@r, NW

Fifth F]oor

Wasiiington, D.C. 20036

(202) 463-1818

PERLES LAW FIRM, P.C.
Steven R. Perles

Edward Macaiiister

1146 19th street NW

Fifth Fioor

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Washington, D.C. 20036
(202) 745~1300

THE DAVID LAW FIRM, P.C.
Jonathan David

i0655 Six Pines i)rive

Suite 260

Woodlands, 'i`exas 77380

(281) 296~9090

OfCounSel Fc)r the Leifer and Waxler Families Onlv
HARRY REICHER

Barristers Chanibers

i336 50th Street

Brool{iyn, NY l 1219
(718) 854-0001

CERTIFICATE OF SERVICE

l hereby certify that on April 10, 2007, the foregoing document Was served in accordance Witb
the Federal Rules of Civil Procedure and/or the Eastern District’s Rules on Eiectronic Service upon ali

pma Watn\h,tw

Mark S. Werbner

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